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            EXHIBIT A
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                    UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF PENNSYLVIANIA




_____________________________________

JOHN UTESCH, Individually and on Behalf
of All Others Similarly Situated,

                                               Civil Action No. 2:16-cv-05932-WB
Plaintiff(s),

v.

LANNETT COMPANY, INC., ARTHUR P.
BEDROSIAN, and MARTIN P. GALVAN,

Defendants.
_____________________________________




                EXPERT REPORT OF CHAD COFFMAN, CFA




                                 October 1, 2020
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I.    INTRODUCTION

         1.    I, Chad Coffman, am the President of Global Economics Group, a Chicago-based

firm that specializes in the application of economics, finance, statistics, and valuation principles

to questions that arise in a variety of contexts, including, as here, in the context of securities

litigation. I have been asked by Lead Counsel for the Lead Plaintiff University of Puerto Rico

Retirement System and Plaintiff Ironworkers Locals 40, 361 & 417 Union Security Funds

(“Plaintiffs”) in this matter to examine and opine on whether the market for Lannett Company,

Inc. (“Lannett” or the “Company”) common stock (“Lannett Common Stock”) was efficient

during the period from July 15, 2014 through October 31, 2017, inclusive (the “Class Period”).1,2

In addition, I have been asked to opine on whether calculating damages in this action is subject

to a common methodology under Section 10(b) of the Securities Exchange Act of 1934 (the

“Exchange Act”) and SEC Rule 10b-5 adopted thereunder (collectively “Section 10(b)”).

         2.    The materials I have considered in forming my opinions are summarized in

Appendix A. Global Economics Group is being compensated at an hourly rate of $850 per hour

for my work on this matter, and at rates between $200 and $425 for members of my staff who

performed work in connection with this report under my direction and supervision. My

compensation is in no way contingent on the outcome of this case. My qualifications are

described below.




1
 Third Amended Consolidated Securities Class Action Complaint filed September 21, 2 018, in John Utesch,
Individually and on Behalf of All Others Similarly Situated, Plaintiff(s), v. Lannett Company, Inc., Arthur P.
Bedrosian, and Martin P. Galvan, Defendants., Civil Action No. 2:16-cv-05932-WB, (“Complaint”) ¶2.
2
 While the final alleged Corrective Disclosure occurred during market hours on October 31, 2017, Lead Counsel
has asked that I include this whole day as part of the Class Period analyses.


                                                     3
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II.     QUALIFICATIONS

          3.    I hold a Bachelor’s Degree in Economics with Honors from Knox College and a

Master’s of Public Policy from the University of Chicago. I am also a CFA charter-holder. The

CFA, or Chartered Financial Analyst, designation is awarded to those who have sufficient

practical experience and complete a rigorous series of three examinations over three years that

cover a wide variety of financial topics including financial statement analysis and valuation.

          4.    I, along with several others, founded Global Economics Group on March 25, 2008. 3

Prior to starting Global Economics Group, I was employed by Chicago Partners LLC for over

twelve years where I was responsible for conducting and managing analysis in a wide variety of

areas including securities valuation and damages, labor discrimination, and antitrust. I have been

engaged numerous times as a valuation expert both within and outside the litigation context. My

experience in class action securities cases includes work for plaintiffs, defendants, D&O

insurers, and a prominent mediator (Retired Judge Daniel Weinstein) to provide economic

analysis and opinions in dozens of securities class actions as well as other matters. As a result of

my involvement in these cases, much of my career has been spent analyzing and making

inferences about how quickly and reliably, and to what degree, new information impacts

securities prices.

          5.    My qualifications are further detailed in my curriculum vitae, which is attached as

Appendix B.

III. SUMMARY OF OPINIONS

          6.    After analyzing Lannett’s Common Stock during the Class Period and giving

careful consideration to the efficiency factors described in detail throughout this report, I have


3
    Prior to March 16, 2011, Global Economics Group was known as Winnemac Consulting, LLC.


                                                  4
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formed the opinion that the market for Lannett’s Common Stock was efficient during the Class

Period.

           7.    I have also formed the opinion that damages in this action can be calculated on a

class-wide basis using a common methodology. These opinions are based upon my analysis

described below.

           8.    The remainder of this report is organized as follows: Section IV of this report

provides an overview of Lannett’s business operations and the allegations in this case. Section V

discusses the reliance requirement for the claims under Section 10(b) of the Exchange Act and

the “fraud on the market” theory. Section VI introduces the Cammer factors and other factors

that financial economists and courts apply when evaluating market efficiency under the “fraud

on the market” theory. Section VII provides the results of my empirical evaluation of each

Cammer factor and other factors for Lannett’s Common Stock during the Class Period. Section

VIII addresses how damages in this matter are subject to a common approach and methodology

that can be applied class-wide. Finally, Section IX offers my conclusions.

           9.    I reserve the right to amend this report, including to reflect new information that

becomes available to me in light of the discovery process and/or future rulings from the Court.

IV.        OVERVIEW OF THE COMPANY AND ALLEGATIONS

           10. Lannett Company is a firm that develops, manufactures, markets, and distributes

generic versions of brand pharmaceutical products.4 Lannett described its business during the

Class Period as follows:

                  Lannett Company, Inc. and subsidiaries (the “Company,” “Lannett,” “we,” or
                  “us”) was incorporated in 1942 under the laws of the Commonwealth of
                  Pennsylvania and reincorporated in 1991 as a Delaware corporation. We
                  develop, manufacture, market and distribute generic versions of brand

4
    Lannett SEC Form 10-K for the fiscal year ended June 30, 2017, p. 4.


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                  pharmaceutical products…. The Company has experienced total net sales
                  growth at a compounded annual growth rate in excess of 28% over the past
                  sixteen years. In that time period, total net sales increased from $12.1 million
                  in fiscal year 2001 to $633.3 million in fiscal year 2017. This growth has
                  been achieved through filing and receiving approvals for abbreviated new
                  drug applications (“ANDAs”), strategic partnerships and launches of
                  additional manufactured drugs, opportunities resulting from our strong
                  historical record of regulatory compliance, as well as the acquisitions of
                  Silarx Pharmaceuticals, Inc. (“Silarx”) and Kremers Urban Pharmaceuticals
                  Inc. (“KUPI”). 5

           11. For the fiscal year ended June 30, 2017, Lannett reported revenue of $637.3 million,

operating income of $86.4 million, and listed total assets of $1.6 billion.6 As of June 30, 2017,

Lannett employed approximately 1,126 employees,7 and its Common Stock traded on the New

York Stock Exchange (“NYSE”) under the ticker “LCI.” 8

           12. Plaintiffs’ Complaint alleges that Lannett and the Individual Defendants 9,10 issued

false and misleading statements and omitted material information regarding their knowledge of

anticompetitive industry practices responsible for the price increases of key Lannett generic

pharmaceuticals during the Class Period.11 This ultimately caused damages to purchasers of

Lannett Common Stock who unknowingly bought Lannett Common Stock at artificially inflated

prices and were damaged when the stock price ultimately reflected the concealed information. 12

           13. With regard to the claims at issue in this case, Plaintiffs contend that Defendants

repeatedly issued materially false or misleading statements and financial results throughout the


5
    Lannett SEC Form 10-K for the fiscal year ended June 30, 2017, p. 4.
6
    Lannett SEC Form 10-K for the fiscal year ended June 30, 2017, p. 40.
7
    Lannett SEC Form 10-K for the fiscal year ended June 30, 2017, p. 21.
8
    Lannett SEC Form 10-K for the fiscal year ended June 30, 2017, p. 38.
9
    Complaint ¶¶20-22.
10
  The Individual Defendants are Lannett’s former President and CEO Arthur P. Bedrosian and current Lannett CFO
and Vice President of Finance and Treasurer Martin P. Galvan. See Complaint ¶¶21-22.
11
     Complaint ¶157.
12
     Complaint ¶189.


                                                      6
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Class Period, even as the details of the price-fixing scheme under investigation came to light and

as the investigation widened to include Lannett itself .13 The Complaint alleges that through a

series of corrective disclosures, the market finally learned the truth about Lannett’s fraudulent

scheme, and once revealed, the price of Lannett Common Stock fell, harming investors who

bought at inflated prices. 14

V.       DISCUSSION OF RELIANCE ELEMENT

           14. Class members’ reliance on the alleged misstatements and material omissions is a

required element for Plaintiffs’ Section 10(b) claims. Plaintiffs assert the fraud on the market

theory of reliance in this matter. 15 The “fraud on the market” theory is based on the fact that in an

efficient market (one in which widely-available public information is quickly incorporated into

the market price of a security), all purchasers implicitly rely on any material misrepresentations

or omissions since the value of those misrepresentations or omissions is incorporated into each

class member’s purchase price. The “fraud on the market” theory was first addressed by the U.S.

Supreme Court in Basic Inc. v. Levinson:

                   … [I]n an open and developed securities market, the price of a company's
                   stock is determined by the available material information regarding the
                   company and its business…Misleading statements will therefore defraud
                   purchasers of stock even if the purchasers do not directly rely on the
                   misstatements…The causal connection between the defendants’ fraud and the
                   plaintiffs’ purchase of stock in such a case is no less significant than in a case
                   of direct reliance on misrepresentations.16

           15. The Supreme Court recently reaffirmed this theory in Halliburton II:

                   More than 25 years ago, we held that plaintiffs could satisfy the reliance
                   element of the Rule 10b-5 cause of action by invoking a presumption that a

13
     Complaint ¶¶82-156.
14
     Complaint ¶¶8, 11-13, 99-105, 134-138, 156, 180-188.
15
     Complaint ¶¶189-193.
16
     Basic Inc. v. Levinson, 485 U.S. 224, 241-42 (1988) (“Basic”).


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                   public, material misrepresentation will distort the price of stock traded in an
                   efficient market, and that anyone who purchases the stock at the market price
                   may be considered to have done so in reliance on the misrepresentation. We
                   adhere to that decision and decline to modify the prerequisites for invoking
                   the presumption of reliance.17

           16. As indicated in Basic and reaffirmed in Halliburton II, in an open, developed and

efficient market, market prices reflect what is publicly known about a company. If a company

provides the market with misleading information regarding its financial strength or business

practices, the market price will be inflated (or deflated) compared to what the price would have

been if the truth were known (but-for misleading information). Thus, in an efficient market,

where the plaintiffs assert there were material misrepresentations or omissions, all purchasers

implicitly relied on those misrepresentations and/or lack of disclosure by paying the inflated (or

deflated) price.

           17. Determining whether the market for a security was “open and developed” or

“efficient” to the degree required for a presumption of reliance under the “fraud on the market”

theory is an empirical exercise. 18 The esteemed economist Dr. Eugene Fama, in his seminal

research, first outlined definitions of an “efficient market.” 19 He described different levels of

efficiency which he called “weak-form,” “semi-strong-form,” and “strong-form” efficiency.20


17
     Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2418 (2014) (“Halliburton II”).
18
  To recognize the presumption of reliance, the Basic Court explained, was not “conclusively to adopt any
particular theory of how quickly and completely publicly available information is reflected in market price.” Basic,
485 U.S. at 248 n.28. The Basic Court instead based the presumption on the fairly modest premise that “market
professionals generally consider most publicly announced material statements about companies, thereby affecting
stock market prices.” Basic, 485 U.S. at 246 n.24. Basic’s presumption of reliance thus does not rest on a “binary”
view of market efficiency, but rather, market efficiency is a matter of degree.
19
     Eugene F. Fama, Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. FIN. 383 (1970).
20
  “Weak-form” efficiency requires that historical prices are not predictive of future prices. Under this form of
efficiency, excess returns cannot be earned using strategies based on historical prices. Therefore, technical analysis
will not produce consistent excess returns over time. “Semi-strong form” efficiency implies that a ll public
information is reflected in a stock's current market price. Security prices adjust to new publicly available
information rapidly and in an unbiased fashion so that it is impossible to earn excess returns by trading on that
information. Under this form of efficiency, neither fundamental nor technical analysis can produce consistent excess
returns. “Strong-form” efficiency implies all information in the market, whether public or private, is accounted for in

                                                        8
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           18. The market efficiency standard adopted by Basic and reaffirmed by Halliburton II

as necessary for the presumption of reliance conforms most closely with Dr. Fama’s “semi-

strong form” efficiency. “Semi-strong form” efficiency implies that all publicly available

information is reflected in a security’s current market price. This implies that security prices

adjust to new publicly available information rapidly and in an unbiased fashion so that it is

impossible to earn excess returns by trading on that information. Basic stated: “In an open and

developed securities market, the price of a company’s stock is determined by the available

material information regarding the company and its business.” 21 The Supreme Court’s effective

adoption of the “semi-strong form” efficiency standard is economically sensible because it

recognizes that insiders often possess non-public information and that securities prices do not

necessarily reflect this non-public information, but that to presume reliance, the market price

must reflect publicly available information.

           19. In the next section, I explain the factors that are regularly considered by financial

economists and courts in determining whether the market for a particular security is efficient.

VI. CAMMER FACTORS

           20. In Cammer v. Bloom, the Court identified the following factors as relevant to the

determination of whether an efficient market exists for a given security: 1) average weekly

trading volume, 2) analyst coverage, 3) market makers, 4) SEC Form S-3 eligibility, and 5) price

reaction to unexpected information. 22




the market price. In this market, investors cannot consistently earn excess returns over a long period of time even if
they have inside information.
21
     Basic, 485 U.S. at 241.
22
     Cammer, v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) (“Cammer”).


                                                      9
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        21. The Cammer decision relied on Bromberg & Lowenfels’ definition of efficiency.

As articulated below, the adopted definition of efficiency is consistent with Fama’s definition of

“semi-strong” efficiency. For the purposes of this exercise, I adopt Bromberg & Lowenfels’

definitions for the terms “open,” “developed,” and “efficient” as described below:

               An open market is one in which anyone, or at least a large number of
               persons, can buy or sell.

               A developed market is one which has a relatively high level of activity and
               frequency, and for which trading information (e.g., price and volume) is
               widely available. It is principally a secondary market in outstanding
               securities. It usually, but not necessarily, has continuity and liquidity (the
               ability to absorb a reasonable amount of trading with relatively small price
               changes).

               An efficient market is one which rapidly reflects new information in price.

               These terms are cumulative in the sense that a developed market will almost
               always be an open one. And an efficient market will almost invariably be a
               developed one. 23

        22. While there is a well-accepted economic theory of market efficiency, there are no

broadly accepted bright-line empirical tests that allow one to classify a particular market as

“efficient” or “inefficient.” In my view, the Cammer decision identified important metrics to

consider when evaluating efficiency for purposes of the “fraud on the market” theory. I also

consider a number of other factors that courts have utilized beyond the Cammer factors.

However, since there are no bright-line tests for efficiency, it is important to consider the

identified efficiency factors as a whole because none of the individual tests or metrics is

determinative as to whether a particular market is efficient.

        23. In addition to the five Cammer factors, I also evaluate, in subsequent sections, the

three widely-recognized Krogman factors to examine further the efficiency of the market for


23
  Cammer, 711 F. Supp. at 1276 n.17 (citing Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud,
§ 8.6 (Aug. 1988) (“Bromberg & Lowenfels”)) (emphasis added).


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Lannett Common Stock during the Class Period. 24 These factors are the: 1) company’s market

capitalization, 2) stock’s bid-ask spread, and 3) percentage of stock not held by insiders (the

float). Finally, in subsequent sections, I also consider three additional factors to assess market

efficiency during the Class Period: 1) the amount of institutional ownership of Lannett Common

Stock, 2) autocorrelation (meaning whether there is a pattern in a security’s returns so that future

returns can be predicted based upon past returns), and 3) options trading. Consideration of these

three factors can provide additional evidence of market efficiency (or inefficiency), alongside the

Cammer and Krogman factors.

VII. APPLICATION OF EFFICIENCY FACTORS TO LANNETT COMMON STOCK

       A. OVERVIEW

           24. After giving careful consideration to each of the efficiency factors described in

detail below, I find that each factor supports the conclusion that the market for Lannett Common

Stock was efficient throughout the Class Period. In addition to the discussio n below, Exhibit 1

summarizes how, for each of the factors examined, the empirical evidence supports a finding that

Lannett Common Stock traded in an efficient market. As further background to my analyses,

Exhibit 2 displays Lannett Common Stock closing price and trading volume for each day

throughout the Class Period.

           25. In summary, and as discussed more fully below, Lannett Common Stock traded in

an efficient market during the Class Period. First, the average weekly trading volume of Lannett

Common Stock during the Class Period far exceeded benchmarks that courts have established.

During the Class Period, the average weekly trading volume for Lannett Common Stock was

4.56 million shares, which represents 12.47% of shares outstanding, higher than the average


24
     Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001).


                                                     11
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security traded on the New York Stock Exchange (“NYSE”) and/or NASDAQ. Second,

numerous securities analysts followed and reported on Lannett during the Class Period. Third,

Lannett Common Stock was actively traded on the NYSE, fulfilling the Cammer factor regarding

market makers. Fourth, Lannett filed a Form S-3ASR during the Class Period and met the

important eligibility criteria for filing a Form S-3 throughout the Class Period. Fifth, there was a

strong cause-and-effect relationship between new Company-specific information and the market

price of Lannett Common Stock during the Class Period. Sixth, Lannett Common Stock had a

large market capitalization. Seventh, Lannett Common Stock had a low bid-ask spread relative to

other exchange-traded common stocks. Eighth, insider holdings were low while institutional

ownership was high during the Class Period. Ninth, the autocorrelation coefficient was not

statistically significant at the 95% confidence level for the Class Period. Finally, there was active

trading in Lannett options throughout the Class Period. My analyses of all of these factors

support the conclusion that Lannett Common Stock traded in an open, developed, and efficient

market at all relevant times.

       B. CAMMER FACTOR 1: AVERAGE WEEKLY TRADING VOLUME

           26. The first Cammer factor is the average weekly trading volume of a security.

According to one authority cited by the Cammer court,

                  Turnover measured by average weekly trading of 2% or more of the
                  outstanding shares would justify a strong presumption that the market for the
                  security is an efficient one; 1% would justify a substantial presumption.25

           27. Volume as a fraction of shares outstanding is an important indicator of market

efficiency. First, volume is objectively quantifiable and comparable across securities. Second,

high volume is generally indicative of continuity, liquidity, and market depth – which are highly


25
     Cammer, 711 F. Supp. at 1293 (citing Bromberg & Lowenfels).


                                                   12
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indicative of market efficiency. 26 Third, substantial volume would indicate there is likely a

market for the collection and distribution of information about the security. As Thomas and

Cotter explain, “[t]rading volume was also considered as an eligibility standard because it affects

information dissemination to the market, and was an important criterion for investment analysts

in deciding which stocks to follow.”27

           28. Lannett Common Stock easily surpasses the threshold level of average weekly

trading volume necessary for an efficient market. The average weekly trading volume for

Lannett Common Stock during the Class Period was 12.47% of shares outstanding, compared to

2.07% for the NYSE and NASDAQ. Based on this figure, the weekly trading volume for Lannett

Common Stock far exceeds the 1% or 2% threshold cited by Cammer.28 Exhibit 3 plots Lannett

Common Stock’s trading volume as a fraction of shares outstanding for each week during the

Class Period.29 Indeed, the average weekly trading volume for Lannett Common Stock during

the Class Period was 4.56 million shares. This volume of trading supports the conclusion that the

market for this security was efficient throughout the Class Period.




26
  Continuity means that trades may occur at any time. Liquidity in this context means that investors can convert
cash into shares or shares into cash at a price similar to that of the prior trade (assuming no new information).
William Sharpe, Gordon J. Alexander & Jeffrey W. Bailey, Investments, Prentice Hall, 44-45 (5th ed. 1995).
Bromberg and Lowenfels define a market that has continuity and liquidity as “the ability to absorb a reasonable
amount of trading with relatively small price changes.” Cammer, 711 F. Supp. at 1276 n.17 (citing Bromberg &
Lowenfels).
Market depth refers to “the number of shares that [can] be traded at the quoted bid and ask prices.” A deep market
will have significant orders on the buy and sell side so that the market can experience a relatively large market order
without greatly altering the market price. See Amihud, Y., et al., Liquidity and Asset Prices, 1 FOUND. & TRENDS
FIN. 269 (2005), 317.
27
 Randall S. Thomas & James F. Cotter, Measuring Securities Market Efficiency in the Regulatory Setting. 63 LAW
& CONTEMP . PROBS . 105, 108 (2000).
28
     Cammer 711 F. Supp. at 1293-94 (D.N.J. 1989).
29
  For the purposes of this analysis, a “trading week” consists of 5 consecutive trading days, which may not follow
the calendar week.


                                                     13
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        29. Another way to measure trading volume is annualized turnover velocity, which is

essentially the first Cammer factor expressed in dollar terms.30 To be more specific, instead of

looking at shares traded divided by shares outstanding, turnover velocity is the dollar value of

shares traded (i.e., shares traded multiplied by price per share) divided by the dollar value of all

shares outstanding (i.e., shares outstanding multiplied by price per share). This is the same ratio

because the numerator and denominator are multiplied by price per share. The advantage of this

measure is that once quoted in annualized terms, Lannett’s Common Stock’s turnover velocity

can be compared directly with other publicly traded stocks based on exchange-reported statistics.

        30. For example, over the Class Period, the annualized turnover velocity ratio for

Lannett’s Common Stock was 623.48% compared with the NYSE and NASDAQ average of

107.89% for the Class Period. 31 Thus, Lannett Common Stock had an average annualized

turnover that was substantially higher than the average stock trading on the NYSE and

NASDAQ, further supporting that it traded in an efficient market.

        31. In short, the relatively high trading volume in Lannett Common Stock throughout

the Class Period supports the conclusion that the market for Lannett Common Stock was

efficient.

     C. CAMMER FACTOR 2: ANALYST COVERAGE

        32. The Cammer decision stated the following related to analyst coverage:

                … [I]t would be persuasive to allege a significant number of securities
                analysts followed and reported on a company’s stock during the class period.
                The existence of such analysts would imply, for example, the [auditor]


30
  Turnover velocity is simply the average trading volume as a percentage of shares outstanding (the first Cammer
Factor) expressed in dollar terms:
Turnover Velocity Ratio = (Volume x Price)/(Shares Outstanding x Price) = Dollars Traded/Dollars Outstanding.
31
 Turnover velocity for the NYSE and NASDAQ is calculated from data provided by the World Federation of
Exchanges. See https://www.world-exchanges.org/home/index.php/statistics/monthly-reports.


                                                   14
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                  reports were closely reviewed by investment professionals, who would in
                  turn make buy/sell recommendations to client investors. 32

           33. Analyst coverage can be important evidence of efficiency. Significant analyst

coverage implies that there is sufficient interest in a company and its securities, that there is an

active market for information regarding the company and its securities, and that the information

is widely distributed.

           34. During the Class Period, there was an abundance of analyst coverage for Lannett.

Exhibit 4 shows that there were at least 432 reports issued during the Class Period and 16

separate firms that had equity analysts issue reports on Lannett, including major firms such as

Roth Capital Partners, LLC, Oppenheimer and Co., BMO Capital, and Deutsche Bank.33 These

reports served the purpose of disseminating publicly available information along with

commentary, news, updates, analyses, and recommendations of the analysts to investors. The

extensive coverage of Lannett by securities analysts supports the conclusion that Lannett

Common Stock traded in an efficient market throughout the Class Period.

           35. Since 1989, when the Cammer decision was rendered, there has been a significant

increase in alternative methods by which publicly available information about publicly -traded

securities is disseminated to investors. For example, since the Cammer decision, through the

Internet, 24-hour cable news networks, email, RSS feeds,34 and other media, the ability of


32
     Cammer, 711 F. Supp. at 1286.
33
  I obtained Lannett analyst reports from Investext. I also obtained a collection of reports from Seeking Alpha. The
number of analyst reports I identify is likely understated since many are not available through third party data
providers such as Investext. For example, it is clear that analysts from Axiom Capital Management Inc., Needham &
Company, LLC, and Raymond James & Associates participated on earnings conference calls during the Class
Period, but I did not have access to research reports of those firms through Investext in con nection with preparing
this report. (See “FY 2014 Earnings Call Transcripts,” S&P Capital IQ, August 27, 2014 and “FQ2 2016 Earnings
Call Transcripts,” S&P Capital IQ, February 3, 2016).
34
  RSS is an acronym for Really Simple Syndication or Rich Site Summary. RSS files are formed as XML files and
are designed to provide content summaries of news, blogs, forums or website content. The RSS feeds are generally
simple headlines and brief descriptions; if the user is interested, the user can click to see additional information.
Content viewed in the RSS reader or news aggregator is known as an RSS feed. RSS is becoming increasing popular

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individual and institutional investors to obtain information about publicly -traded securities and

the market in general has revolutionized the manner in which investors and investment

professionals receive and process information.

         36. Moreover, information regarding the market price, the current bid-ask spread, and

the ability to trade online is available almost instantaneously via the Internet for anyone with an

online brokerage account. Thus, in addition to the substantial analyst coverage of Lannett, there

were many other sources of public information dissemination. For example, there was substantial

public press regarding Lannett. A search for articles classified as related to Lannett by Factiva

over the Class Period resulted in 1,401 unique articles.35 In addition, there were numerous SEC

filings available online at the SEC EDGAR search database at no cost, as well as various other

sources of public information available throughout the Class Period that I do not attempt to

quantify. The degree of news coverage and publicly available information further supports the

conclusion that there was substantial supply of, and demand for, information regarding Lannett

in the public arena throughout the Class Period.

         37. In summary, the number of analyst reports and the substantial public dissemination

of news and other information regarding Lannett provides evidence of a robust and active market




since it is a free and easy way to promote a site and its content without the need to advertise or create complicated
content sharing partnerships (see http://www.rss-specifications.com/, and http://www.rss-specifications.com/what-
is-rss.htm).
35
  Factiva is a business information and research tool owned by Dow Jones & Company. Factiva aggregates content
from both licensed and free sources, and provides organizations with search, alerting, dissemination, and other
information management capabilities. I first identified 1,401 unique articles as a result of a search for “All Sources”
with the company field “Lannett Company, Inc” or the keyword field “Lannett Company.” Articles flagged under
the keyword fields “52-week highs and lows”, “Diary-Non,” and “Diary” were excluded from the analysis.
Duplicate articles have been removed by a proprietary function accessible in Factiva’s search builder. I acknowledge
that this may not reflect all news as the Factiva database is limited to certain sources and content type. In addition to
Factiva, I also included any articles identified in the complaint.


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for public information about the Company and evidence that Lannett’s Common Stock traded in

an efficient market during the Class Period.

       D. CAMMER FACTOR 3: MARKET MAKERS

           38. A market maker is a firm that is ready to buy or sell a particular stock on a regular

and continuous basis. 36 The third Cammer factor states:

                  For over the counter markets without volume reporting, the number of
                  market makers is probably the best single criterion. Ten market makers for a
                  security would justify a substantial presumption that the market for the
                  security is an efficient one; five market makers would justify a more modest
                  presumption. 37

           39. The premise that the number of market makers can serve as an efficiency criterion

relates to the notion that market makers are:

                  … [P]resumably knowledgeable about the issuing company and the stocks’
                  supply and demand conditions (i.e., the “order flow”). Therefore, it is
                  believed the larger the number of market makers in a given security, the more
                  information is available about it and the quicker its dissemination in the
                  price.38

           40. Lannett Common Stock traded on a major exchange (i.e., the NYSE) with

continuous public price and volume reporting, as opposed to an over-the-counter market without

volume reporting, which is the context in which Cammer indicated this was a relevant criterion. 39

On such over-the-counter markets, there may be reason for concern regarding liquidity and

information dissemination. However, these concerns are generally not applicable to stocks



36
     See http://www.sec.gov/answers/mktmaker.htm.
37
     Cammer, 711 F. Supp. at 1293.
38
  Barber, B., et al., The Fraud-on-the-Market Theory and the Indicators of Common Stocks’ Efficiency, 19 J. CORP .
L. 285 (1994), 291.
39
  See Cammer, 711 F. Supp. at 1292, citing Bromberg & Lowenfels: “We think that, at a minimum, there should be
a presumption – probably conditional for class determination – that certain markets are developed and efficient for
virtually all the securities traded there: the New York and American Stock Ex changes, the Chicago Board Options
Exchange and the NASDAQ National Market System.”


                                                    17
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trading on large, modern exchanges such as the NYSE and NASDAQ, which are presumed to be

efficient, report volume and trade details, and tend to have rules that v irtually guarantee a liquid

market.40

        41. The NYSE and NASDAQ are two of the largest and most liquid security exchanges

in the world with billions of shares traded each day. Unlike over-the-counter markets that rely on

decentralized market makers providing liquidity for trading, the NYSE and NASDAQ rely on a

computerized system to match orders and provide quotes. 41 The minimum requirements to be

listed on the NYSE or NASDAQ and remain in good standing virtually guarantee a liquid market

for that security. Therefore, the number of “market makers” itself is not a particularly relevant

metric in this case.

        42. Nevertheless, according to Bloomberg, throughout the vast majority of the Class

Period, there were 130 market makers for Lannett Common Stock.42 Therefore, Lannett

Common Stock easily meets the letter and spirit of this factor, further supporting the efficiency

of the market during the Class Period.

     E. CAMMER FACTOR 4: SEC FORM S-3 ELIGIBILITY

        43. The fourth Cammer factor is SEC Form S-3 eligibility, which states,

                …[I]t would be helpful to allege the Company was entitled to file an S-3
                Registration Statement in connection with public offerings or, if ineligible,
                such ineligibility was only because of timing factors rather than because the
                minimum stock requirements set forth in the instructions to Form S-3 were
40
  For example, there are rules for minimal market capitalization and specialists are required to maintain an orderly
market; see Section 102 http://wallstreet.cch.com/LCM/Sections/. See also, William Sharpe, Gordon J. Alexander &
Jeffrey W. Bailey, Investments, Prentice Hall, 45-53 (5th ed. 1995); Frank J. Fabozzi, Franco Modigliani & Frank J.
Jones, Foundations of Financial Markets and Institutions, Prentice Hall, Chapter 18 – Appendix A (4th ed. 2010).
41
  For NYSE, see https://www.nyse.com/market-model; and
https://www.nasdaqtrader.com/Trader.aspx?id=TradingUSEquities, see
http://www.nasdaq.com/includes/Anatomy_of_a_Trade_FactSheet.pdf;
http://www.nasdaqomx.com/transactions/trading/equities; http://www.nasdaq.com/about/MarketMechanics.stm.
42
  Bloomberg RANK function. Market maker data for Lannett is only available on Bloomberg following January 1,
2015.


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                  not met. Again, it is the number of shares traded and value of shares
                  outstanding that involve the facts which imply efficiency. 43

           44. SEC Form S-3 allows certain companies that have previously provided sufficiently

high levels of public information to incorporate prior SEC filings by reference into current filings

and not repeat the information, since it is already deemed to be widely publicly available. 44 In

order to be eligible to issue a Form S-3, among other things, a company 1) must be subject to the

Securities Exchange Act of 1934 reporting requirements for more than one year, 2) must have

filed all documents in a timely manner for the past twelve months, and 3) must show that it has

not failed to pay dividends or sinking funds nor defaulted on debts or material leases. Eligibility

to file a Form S-3 is confirmatory evidence of efficiency, not a requirement.

           45. A Form S-3 allows a company to register unspecified amounts of different specified

types of securities using a single form. I have found no evidence that Lannett was not S-3

eligible throughout the Class Period. In fact, Lannett filed a Form S-3ASR during the Class

Period on May 12, 2017.45 While a Form S-3 is a registration statement for specified transactions

by certain issuers, a Form S-3ASR is a type of Form S-3, but only “well-known seasoned

issuers” are eligible to file S-3ASRs.46 Therefore, Lannett meets this Cammer efficiency factor,

which supports the conclusion that Lannett Common Stock traded in an efficient market.

       F. CAMMER FACTOR 5: PRICE REACTION TO NEW INFORMATION

           46. The fifth Cammer factor relates to how the price of a security reacts to new,

company-specific information and states:



43
     Cammer, 711 F. Supp. at 1287.
44
     For additional information, see www.sec.gov/about/forms/forms-3.pdf.
45
     https://www.sec.gov/Archives/edgar/data/57725/000104746917003383/0001047469-17-003383-index.htm.
46
     https://www.sec.gov/about/forms/forms-3.pdf.


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                  … [O]ne of the most convincing ways to demonstrate [market] efficiency
                  would be to illustrate, over time, a cause and effect relationship between
                  company disclosures and resulting movements in stock price.47

           47. Establishing a causal connection between new company-specific events and

movements in the market price is convincing evidence of market efficiency. A technique often

relied upon, both inside and outside of the context of litigation, to establish such a causal

connection is called an “event study.” An event study is a well-accepted statistical method

utilized to isolate the impact of information on market prices. 48 Indeed, academics used event

studies as one tool for evaluating the efficient market hypothesis in the first place. Event studies

have been used for over 40 years and have appeared in hundreds if not thousands of academic

articles as scientific evidence in evaluating how new information affects securities prices. 49

           48. An event study is a technique used to measure the effect of new information on the

market prices of a company’s publicly traded securities. New information may include, for

example, company press releases, earnings reports, SEC filings, and news reports or analyst

reports. An event study is conducted by specifying a model of expected price movements

conditioned on outside market factors and then testing whether the deviation from expected price

movements is sufficiently large that simple random movement can be rejected as the cause.

           49. To analyze cause and effect, I performed an event study to determine whether

Lannett Common Stock reacted to earnings announcements in a manner significantly different

from how the stock moved on days with no Lannett-related news. Based on the event study I

performed, which explicitly controls for market and industry factors, I find that there is a clear

cause-and-effect relationship between new public information about Lannett and the market


47
     Cammer, 711 F. Supp. 1291.
48
     A. Craig MacKinlay, Event Studies in Economics and Finance, 35 J. ECON. LITERATURE, 13 (1997).
49
     John J. Binder, The Event Study Methodology Since 1969, 11 REV. QUANTITATIVE FIN. & ACCT., 111 (1998).


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price of Lannett Common Stock. I now describe in further detail the event study methodology,

the events I test, and the results.

           50. A well-accepted method for performing an event study is to estimate a regression

model over some period of time (an “estimation window”) to observe the typical relationship

between the market price of the relevant security and broad market factors. 50 I have performed

such an analysis in this matter where I evaluate the relationship between Lannett Common

Stock’s daily returns (percentage change in price) controlling for the S&P 500 Total Return

Index (the “Market Index”) and an equal weighted peer index, hereafter referred to as the “Peer

Index.” 51

           51. For each trading day analyzed, I constructed a regression model using data from the

prior 120 trading days (roughly six months). 52 By using a “rolling” estimation window, it allows

for the relationship between Lannett Common Stock, industry and market factors, as well as

firm-specific volatility to update over time according to the data observed over the most recent

120 trading day period. Use of a rolling model to account for changing volatility and evolving

relationships among market indices is accepted in peer-reviewed literature.53

           52. The model indicates that there is a positive correlation between Lannett Common

Stock and the control variables. In other words, the movement of the Market Index and Peer


50
  A “regression” or “regression model” is a statistical technique for measuring the ability of one or more variables
(the “independent variables”) to “explain” another variable of interest (the “dependent variable”). In this case, the
daily percentage change in Lannett Common Stock (the Lannett daily return) is the dependent variable and the
contemporaneous daily returns for a market and peer index are the independent variables. For a general discussion
of regression analysis, see Damodar N. Gujarati, Basic Econometrics, McGraw Hill, Chapters 1-3 (3rd ed. 1995).
51
 The Peer Index is an equal-weighted index using the returns of the thirty-one companies that were members of the
Dow Jones US Pharmaceutical Index during the Class Period. The returns of the Peer Index are net of the S&P 500
Total Return Index.
52
  A. Craig MacKinlay, Event Studies in Economics and Finance, 35 J. ECON. LITERATURE, 15 (1997): “For
example, in an event study using daily data and the market model, the market model parameters could be estimated
over the 120 days prior to the event.”
53
     Phillip A. Braun, Good News, Bad News Volatility, and Betas, 50 J. FIN. 1575, 1597 (1995).


                                                     21
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Index helps explain the price movements of Lannett Common Stock during the Class Period. For

instance, choosing a day in the Class Period purely as an example, February 18, 2016 and

looking at the regression results based on the 120 days prior to that day, the estimated coefficient

for the S&P 500 is 1.17 which means that a 1% rise in the S&P 500 predicts a 1.17% increase in

returns for Lannett Common Stock. The estimated coefficient for the Peer Index is 1.09, meaning

that the expected return for Lannett Common Stock is about a 1.09% increase for every 1%

increase in the Peer Index over and above the return of the S&P 500. Exhibit 5 plots the

estimated coefficients for the rolling regression models for each day during the Class Period.

        53. Another important statistic from the regression is the standard deviation of the

errors, which measures the degree of imprecision in the predictions from the model. Put another

way, this measure provides a metric for how much unexplained price movement remains in

Lannett Common Stock after controlling for the Market Index and Peer Index. For instance, on

the example date, February 18, 2016, the model predicted that absent any value relevant new

firm-specific information, the price of Lannett Common Stock would decrease by 3.32% because

the S&P 500 was down 0.46% and the Peer Index was down 2.31%.54 Because of the inherent

randomness observed in stock price returns, I do not expect the model to predict returns exactly.

        54. In this example, I observe an actual return of -4.13%. Thus, the “abnormal return”

for this day is -0.82% (the actual return of -4.13% minus the predicted return of -3.32%). I then

rely on the standard deviation of the errors from the regression model to tell if this abnormal

return of -0.82% is sufficiently large that I can reject random movement as the explanation.




54
  The predicted return of -3.32% is found as follows: 1.17 * -0.46% (Coefficient on Market Index times Market
Index return) + 1.09 * - 2.31% (Coefficient on Peer Index Return times Peer Index Return) -0.25% (constant term
from regression).


                                                   22
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         55. The test for whether randomness can be rejected is done by calculating what is

known as a “t-statistic,” which represents the number of standard deviations between the actual

observation and the prediction. For the example date, an abnormal return of -0.82%

represents -0.29 standard deviations or a t-statistic of -0.29 (abnormal return of -0.82% divided

by the standard deviation of the errors of 0.028).55 Using the standard assumption that, in the

absence of new value relevant company-specific news, abnormal returns will be normally

distributed around zero, probability theory implies that based on randomness alone, using a 95%

confidence level and large sample size, the abnormal return should have a t-statistic greater than

1.96 (or less than -1.96) only 5% of the time. 56,57 Stating this point another way, there is a 95%

confidence that the actual return will fall within 1.96 standard deviations of the predicted return

unless there is some non-random explanation.

         56. Since our example has a t-statistic of -0.29, the abnormal return is not statistically

significant at the 95% confidence level, and I cannot reject randomness as the cause of the

abnormal price movement with greater than 95% confidence. By contrast, if on a particular day

one observes an abnormal return that has a t-statistic of a magnitude greater than 1.96

(statistically significant at the 95% confidence level) and one observes new value relevant firm-




55
  The standard deviation of the errors are plotted in Exhibit 6. The standard deviation of the error is also known as
the standard error. “An estimate based on a sample is likely to be off the mark, at least by a small amount, because
of random error. The standard error gives the likely magnitude of this random error, with smaller standard errors
indicating better estimates.” The National Academies Press, Reference Manual on Scientific Evidence, Third
Edition, 2011, p. 243.
56
  David I. Tabak & Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,” Litigation
Services Handbook, The Role of the Financial Expert, Ch. 19, (3rd ed. 2001). The financial economics literature
often identifies the 90% threshold as a relevant boundary for significance as well.
57
  Basic statistics state that for a normally distributed variable, 5% of the observations are expected to fall outside
1.96 standard deviations from the mean. “The normal distribution has the property that the area within 1.96 standard
errors of the mean is equal to 95% of the total area.” The National Academies Press, Reference Manual on Scientific
Evidence, Third Edition, 2011, p. 342.


                                                     23
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specific information, one would reject randomness as the explanation with 95% confidence and

infer that the new information is the cause of the stock price movement.

        57. Exhibit 6 shows that the standard deviation of the errors for Lannett Common

Stock varied over the Class Period. By adopting the rolling regression model, my event study

explicitly adjusts for the changing Company-specific volatility.

        58. To analyze cause-and-effect, I examined the price response of Lannett Common

Stock to the twenty earnings announcements and preannouncements during the Class Period. See

Exhibit 7.

        59. There are many academic articles and financial treatises that explain theoretically

and demonstrate empirically that the release of company earnings information often (but not

necessarily always) causes a significant change in investors’ beliefs regarding the value of a

security.58 Also, newly released earnings reports by a company are an objective set of news to

identify and test. Considering the seventh earnings release listed in Exhibit 7 as an example,

after market close on May 6, 2015 the Company announced third quarter results that were below

expectations.59 In response, on May 7, 2015 the market price of Lannett Common Stock

decreased by 12.07%, compared to the predicted return of 1.08%. Thus, the abnormal return on

May 7, 2015 was -13.15%. With a t-statistic of -6.15, this abnormal price movement is




58
  William H. Beaver, “The Information Content of Annual Earnings Announcements: New Insights from
Intertemporal and Cross-Sectional Behavior,” Empirical Research in Accounting: Selected Studies, 1968,
supplement to the Journal of Accounting Research, Vol. 6, 67-92 (1968); Robert G. May, “The Influence of
Quarterly Earnings Announcements on Investor Decisions as Reflected in Common Stock Price Changes,”
Empirical Research in Accounting: Selected Studies, 1971, supplement to the Journal of Accounting Research, Vol.
9, 119-163(1971); Joseph Aharony & Itzhak Swary, “Quarterly Dividend and Earnings Announcements and
Stockholders’ Returns: An Empirical Analysis,” The Journal of Finance, Vol. 35, No. 1, 1-12 (1980).
 See “Eyes Shifting To Low-Single Digit Growth In FY16, But Prospects For FDA Approvals And/Or
59

Acquisitions Keep Us Intrigued. Reiterate Buy Rating, Lowering Price Target To $62.,” Craig-Hallum Capital
Group LLC, May 7, 2015 and “F3Q15 Results: Oops, Couldn’t Do It Again,” Oppenheimer, May 7, 2015.


                                                  24
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statistically significant at the 99% level, and I therefore have scientific evidence that Lannett

Common Stock reacted rapidly to this new information.

           60. Similar to this example, I analyzed the market reaction to Lannett’s other earnings

announcements I identified above. In total, of the twenty earnings announcements or

preannouncements Lannett issued during the Class Period, ten resulted in statistically significant

price movements above the 95% confidence level. 60,61

           61. Exhibit 7 presents a summary of the earnings releases during the Class Period.

           62. I then compared these results against the 216 days during the Class Period where I

identified no Lannett-related news from the Factiva database and where there were no analyst

reports or SEC filings issued to my knowledge. Of these 216 days, there were only 10 days with

a statistically significant price movement. Thus, during the Class Period there was a statistically

significant price reaction at the 95% confidence level or greater on 50.0% of the earnings

announcements, but when compared to days with no Lannett-related news, I observed only 4.6%

statistically significant reactions. 62,63 This is powerful scientific evidence of a cause-and-effect

relationship between new publicly released information concerning the Company and changes in

the price of Lannett Common Stock.

           63. Furthermore, on the 216 days with no news, the average change in price of Lannett

Common Stock was 1.76%, after controlling for market and industry factors, while the average


60
  It is not unusual to observe many earnings announcements that are not statistically significant. This happens, for
instance, in quarters where there was an insufficient surprise and/or the firm roughly met expectations, if the firm
offered little change in guidance, and/or if there was a mix of both positive and negative information.
61
  Of the ten earnings announcements statistically significant at the 95% confidence level, nine of these are also
statistically significant at the 99% level. Additionally, one earnings preannouncement date is statistically significant
at the 90% level.
62
     This difference between 50.0% and 4.6% is itself statistically significant at the 99% confidence level.
63
  Based on randomness alone, one would expect 5% of the no news days to be statistically significant. The
observed rate of 4.6% is not statistically significantly different than 5%.


                                                       25
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change in Lannett Common Stock on earnings announcement dates after controlling for market

and industry factors was 7.03%. In other words, the average magnitude of stock price movement

on earnings announcement days was about 4 times higher than on days with no news.64 Again,

this demonstrates that on days when important company-specific information is released to the

market, Lannett’s stock price moves much more than on days where there is no company-

specific news. This provides further evidence of a cause-and-effect relationship between

company-specific news and changes in the price of Lannett Common Stock, and thus an efficient

market.

           64. The bar charts below summarize this analysis while Exhibit 8 gives more detail.




64
     This difference between 7.03% and 1.76% is itself statistically significant at the 99% confidence level.


                                                       26
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            65. Finally, when important Company-specific news is released to the market (e.g.

earnings announcements), the daily trading volume of Lannett Common Stock also tends to be

much higher65 than on days where there is no news. See Exhibit 8. For instance, the average

daily trading volume of the twenty days with earnings announcements was 2.7 million. Compare

this to the average daily trading volume of 0.8 million for days where there is no Lannett news in

the Class Period. 66 The bar chart below summarizes this analysis.




65
  William H. Beaver, “The Information Content of Annual Earnings Announcements,” Empirical Research in
Accounting: Selected Studies, 1968, supplement to the Journal of Accounting Research, Vol. 6, 69, 84 (1968).
66
     This difference between 2.7 million and 0.8 million is itself statistically significant at the 99% confidence level.


                                                         27
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       66. The bar charts above establish a strong cause-and-effect relationship between new,

Company-specific news and rapid changes in the price of Lannett Common Stock. The earnings

announcement days have a much greater percentage of significant price movements, higher daily

trading volume on average, and statistically significantly larger price changes than those found

on days with no news.

       67. In conclusion, the event study analysis presented in this section demonstrate a clear

cause-and-effect relationship between new material news and changes in the market price of

Lannett Common Stock during the Class Period.

   G. KROGMAN FACTOR 1: MARKET CAPITALIZATION

       68. In Krogman v. Sterritt, the court noted that economic theory includes other possible

relevant factors for determining whether a stock trades in an efficient market, in addition to the


                                             28
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Cammer factors.67 The Krogman Court held, “[m]arket capitalization, calculated as the number

of shares multiplied by the prevailing share price, may be an indicator of market efficiency

because there is a greater incentive for stock purchasers to invest in more highly capitalized

corporations.”68 Furthermore, Thomas and Cotter find that firms with a larger market

capitalization tend to have “larger institutional ownership and tend to be listed on the New York

Stock Exchange with a greater analyst following.” 69 Therefore, market capitalization is another

quantifiable measure that is likely correlated with efficiency.

           69. Lannett Common Stock had a higher market capitalization than the majority of

NYSE and NASDAQ stocks during the Class Period, thus suggesting this factor is supportive of

efficiency. There were at minimum 35.6 million shares of Lannett Common Stock outstanding

throughout the Class Period. 70 Based on the market price, the market capitalization for Lannett

Common Stock averaged $1.28 billion during the Class Period, as shown in Exhibit 9. Exhibit

10 shows that during the Class Period, Lannett Common Stock’s market capitalization ranged

from the 46 th to 70 th percentile of the combined NYSE and NASDAQ markets for the applicable

quarters during the Class Period. 71 In other words, over the Class Period, Lannett Common Stock

had a higher market capitalization than at least 46% of the firms on the combined NYSE and

NASDAQ exchanges. This factor is supportive of market efficiency for Lannett Common Stock

throughout the Class Period.




67
  Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001) (“Krogman”). The factors identified by the Krogman Court
are 1) market capitalization, 2) size of float of common stock, and 3) bid-ask spread.
68
     Krogman, 202 F.R.D. at 478.
69
 Randall S. Thomas & James F. Cotter, Measuring Securities Market Efficiency in the Regulatory Setting. 63 LAW
& CONTEMP . PROBS . 117 (2000).
70
  Shares outstanding data obtained from SEC filings.
71
     Bloomberg.


                                                   29
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           70. Given that the market capitalization for Lannett Common Stock was consistently

large relative to other publicly traded companies, this factor is supportive of market efficiency

for Lannett Common Stock.

       H. KROGMAN FACTOR 2: THE BID-ASK SPREAD

           71. The second Krogman factor considers the bid-ask spread for a security, reasoning

that: “[a] large bid-ask spread is indicative of an inefficient market, because it suggests that the

stock is too expensive to trade.” 72 The bid-ask spread is an important indicator of the degree to

which a market is developed. The bid-ask spread represents a measure of the cost to transact in a

market. Narrow bid-ask spreads indicate less uncertainty regarding valuation and that reasonably

sized trades will not substantially impact the market price. Wider bid-ask spreads indicate greater

liquidity costs and less ability to trade without moving the market price. In addition, the wider

the bid-ask spread, the more costly it is to arbitrage away small inefficiencies because the cost of

the trade could be greater than the perceived inefficiency. Thus, a narrow bid-ask spread supports

the presence of an efficient market where the prices reflect publicly available information.

           72. I analyzed bid-ask spreads for Lannett Common Stock during the Class Period.

Exhibit 11 shows that during this period, the time-weighted average percentage bid-ask spread

for Lannett Common Stock in each month was between 0.04% and 0.24%. This is well below the

average and median bid-ask spread of a random sample of 100 other common stocks trading on

the NYSE and NASDAQ in October 2017 (the full month of the Class Period during which

Lannett had the largest percentage bid-ask spread).73,74 Exhibit 11 demonstrates that Lannett


72
     Krogman, 202 F.R.D. at 478.
73
  Quote data for Lannett and other publicly traded stocks were obtained from the TICK database. See
https://tickapi.tickdata.com/.
74
  I constructed a random sample because I am not aware of any exchange-wide reporting of average or median bid-
ask spreads. Determining the average bid-ask spread for the entire market would be a very costly and data intensive

                                                   30
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Common Stock had a monthly average bid-ask spread of 0.24% in October 2017, while a

randomly selected group of 100 other common stocks on the NYSE and NASDAQ had an

average bid-ask spread of 1.59%.75 Accordingly, Lannett Common Stock’s bid-ask spread was

low during the Class Period, and this factor further supports market efficiency for Lannett

Common Stock.

     I. KROGMAN FACTOR 3: PUBLIC FLOAT

        73. The Krogman Court’s final factor is that the public float (i.e., the amount of shares

not held by insiders) is considered to be indicative of market efficiency. As shown in Exhibit

12, during the Class Period, insiders held 28.04% of all outstanding shares of Lannett Common

Stock, meaning that 71.96% of Lannett’s shares were held by non-insiders. This large

percentage of shares held by non-insiders supports market efficiency.

     J. ADDITIONAL FACTOR 1: INSTITUTIONAL OWNERSHIP

        74. Institutional investors are considered to be sophisticated and well-informed, with

access to most publicly available information for the stocks that they own. These investors

include mutual funds, pension funds, investment banks, and other types of large financial

institutions that have substantial resources to analyze the securities they purchase for their

portfolios. As Exhibit 12 shows, 633 separate institutions owned Lannett Common Stock during

the Class Period, holding on average 86.28% of public float. The substantial level of institutional


process, therefore I adopted a random sampling methodology. I determined the constituents of the NYSE and
NASDAQ for October 2017 and then randomly generated a list of 100 common stock securities. I then calculated
the time-weighted average monthly bid-ask spread for October 2017.
75
   The time-weighted average bid-ask spread was calculated by taking the average of the spread during trading hours
on the primary exchange of each security, weighted by the amount of time each quote prevails in the market. That is,
I take the weighted average quote, with the weight being the number of seconds between that quote and the next
quote that occurs. Spread is calculated as the difference between the bid price and ask price divided by the midpoint
of the bid-ask spread. I calculated the National Best Bid and Offer using the data filtering procedures described in
Roger D. Huang & Hans R. Stoll, Dealer versus auction markets: A paired comparison of execution costs on
NASDAQ and the NYSE, 41 J. FIN. ECON. 313 (1996).


                                                    31
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ownership of Lannett Common Stock during the Class Period coupled with the high trading

volume further supports a conclusion of market efficiency.

       K. ADDITIONAL FACTOR 2: AUTOCORRELATION

           75. If previous price movements of a security have the ability to predict future price

movements, then it is said to be “autocorrelated.” Autocorrelation is relevant to efficiency

because if the autocorrelation is persistent and sufficiently large that a trader could profit from

taking advantage of the autocorrelation, it means that past price movements are not fully

reflected in the current price, which would suggest market inefficiency.

           76. Autocorrelation may occur from time to time for random reasons or due to the

pattern of firm-specific news. Efficiency would only be violated, however, if the autocorrelation

were large enough and persistent enough that a trader could consistently earn riskless profits over

time.76

           77. A well-accepted methodology to test for the existence of autocorrelation is to run a

regression analysis that tests whether, on average, the abnormal return from the previous day has

a statistically significant effect on the abnormal return today.77 If the previous day’s abnormal

return has no statistically significant predictive power, then there is no evidence of

autocorrelation.

           78. Exhibit 13 displays the autocorrelation coefficient for Lannett Common Stock

using the abnormal returns from the event study model described above. The coefficient for the

Class Period is not statistically different than zero, meaning there is no evidence of statistically



76
  Doron Avramov, Tarun Chordia & Amit Goyal, Liquidity and Autocorrelations in Individual Stock Returns, 61 J.
FIN. 2365, 2367-68 (2006); Michael C. Jensen, Some Anomalous Evidence Regarding Market Efficiency, 6 J. FIN.
ECON. 95-101 (1978).
77
     William H. Greene, Econometric Analysis, Prentice Hall, Sixth Edition, 2008, Chapter 19, p. 644.


                                                      32
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significant autocorrelation. This result is thus inconsistent with the notion that an investor could

consistently predict abnormal movements and earn arbitrage profits. Therefore, this factor also

supports the conclusion that Lannett Common Stock traded in an efficient market throughout the

Class Period.

       L. ADDITIONAL FACTOR 3: OPTIONS

           79. In addition to the factors analyzed above, there was also considerable option trading

in Lannett Common Stock during the Class Period. 78 Academic articles have demonstrated that

options written on existing assets can improve efficiency by permitting an expansion of the

contingencies that are covered by the market. 79 Empirical analysis has shown that option listings

are associated with a decrease in bid-ask spread and increase in quoted depth, trading volume,

trading frequency, and transaction size – an overall improvement of the market quality of the

underlying stocks. 80 Thus, this factor also supports that Lannett Common Stock traded in an

efficient market throughout the Class Period.

VIII. DAMAGES

           80. Counsel for the Plaintiffs also asked me to opine on whether per share damages

could be measured for all Class members under Section 10(b) of the Exchange Act using a

common methodology that is consistent with the Plaintiffs’ theory of liability. There is a

standard and well-accepted method for calculating class wide damages in cases under Section

10(b) of the Exchange Act. This method, typically referred to as the “out-of-pocket” method,




78
 For instance, according to iVolatility, there were 267,255 Lannett Common Stock put contracts and 393,790
Lannett Common Stock call contracts that traded during the Class Period.
79
     Stephen A. Ross, Options and Efficiency, 90 Q. J. ECON. 75 (1976).
80
 Raman Kumar, Atulya Sarin & Kuldeep Shastri, The Impact of Options Trading on the Market Quality of the
Underlying Security: An Empirical Analysis, 53 J. FIN. 717 (1998).


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states that damages are equal to the artificial inflation in the share price at the time of purchase

minus the artificial inflation per share at the time of sale (or, if the share is not sold before full

revelation of the fraud, the artificial inflation at the time of purchase, subject to the Private

Securities Litigation Reform Act of 1995’s (“PSLRA”) “90-day lookback” provision, a

formulaic limit on damages that also can be applied class-wide).81 The out-of-pocket method has

been applied in virtually every matter in which I have observed or participated in as a consulting,

testifying, or neutral expert.

         81. Once the inflation per share has been quantified on each day during the class period,

the computation of damages for each class member is formulaic based upon information

collected in the claims process (i.e., the investor’s purchase and sale history for the security,

which is routinely available from brokerage statements and/or other documents that provide

evidence of securities transactions). Therefore, there is a well-accepted method to compute

damages in Section 10(b) matters such as this.

         82. Separate and apart from whether there is a common method for computing damages

is the question of how to quantify the artificial inflation per share that is an input to the damages

methodology. The quantification of the artificial inflation per share requires a detailed loss

causation analysis.82 Nevertheless, whatever the method for determining the artificial inflation

per share, it would be common to all class members.




81
  Specifically, the PSLRA states: “…in any private action arising under this title in which the plaintif f seeks to
establish damages by reference to the market price of a security, the award of damages to the plaintiff shall not
exceed the difference between the purchase or sale price paid or received, as appropriate, by the plaintiff for the
subject security and the mean trading price of that security during the 90-day period beginning on the date on which
the information correcting the misstatement or omission that is the basis for the action is disseminated to the
market.” See, Private Securities Litigation Reform Act of 1995, dated December 22, 1995, 737, 748-49.
82
  I have not been asked to conduct a loss causation analysis at this time. In my experience, loss causation analyses
are often informed by information learned in discovery.


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         83. For example, the most widely-used technique to quantify artificial inflation starts

from an event study that measures price reactions to disclosures that revealed the relevant truth

concealed by the alleged material omissions and/or misrepresentations (i.e. a “corrective

disclosure”). 83 Such an event study would also need to consider whether and to what extent any

non-fraud related information (i.e. “confounding information”) contributed to the observed price

movement. If there is such confounding information, disaggregating the price impact of

corrective disclosures from confounding information may utilize valuation techniques and may

depend on information learned through discovery. Determining the specific valuation approach

necessary to perform a loss causation analysis that reasonably disaggregates corrective and

confounding information is an inherently case-specific question that depends on specific facts

and circumstances. Examples of such techniques include, but are not limited to, fundamental

valuation analysis such as discounted cash flow methods, valuation multiple methods (i.e. price

to earnings multiples, price to EBITDA multiples, price to revenue multiples, etc.), use of

academic studies regarding the value of certain types of information, and oth er available

valuations whether from securities analysts or made available through discovery. Regardless of

the technique used, it is performed on a class-wide basis – in other words, the specific

methodology applies regardless of the identity or circumstances of any individual class member.

         84. The loss causation analysis would also require an analysis of how inflation per

share may have evolved over the class period. Again, the nature of this analysis is intensely

factual, case-specific, and may depend on information learned through discovery. For example,

an often-used method is to assume “constant dollar inflation,” which implies that the artificial




83
  The event study I have performed for this report is for Market Efficiency purposes and is not an attempt at valuing
artificial inflation.


                                                    35
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inflation was the same dollar amount during the class period. In certain circumstances, it may be

more reasonable to apply “constant percentage inflation,” which implies the price was inflated by

a consistent percentage in the absence of additional disclosures. In other cases, the artificial

inflation has evolved based upon the nature and timing of specific misstatements or the inflation

varied on a daily basis as a result of information contained in internal documents obtained in

discovery. To summarize, the determination of how artificial inflation evolved over the class

period is also a case-specific, fact-specific loss causation exercise that can rely on valuation

techniques including, but not limited to, event studies, fundamental valuation, contemporaneous

valuations or documents, or some combination of the above. Once again, however, all of these

loss causation methodologies are class-wide in nature and do not depend on the identity or

circumstance of any specific investor.

         85. Accordingly, although I have not been asked to calculate class-wide damages in this

report, and such calculations would likely depend, in part, on the completion of discovery, and

full development of the case record, based on my expertise and experience in dozens of similar

matters and understanding the nature of the claims in this case, I conclude that damages in this

action are subject to a well-settled, common methodology that can be applied to the Class as a

whole.

IX. CONCLUSION

         86. In sum, every factor analyzed supports my opinion that Lannett Common Stock

traded in an efficient market during the Class Period. Furthermore, class-wide damages in this

matter can be calculated on a class-wide basis using a common methodology.

         87. I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



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Executed on October 1, 2020.




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                                                                                  Exhibit 1
                                                              Summary of Efficiency Factors for Lannett Company
     Factor                                               Summary of Factor                                                                                              Lannett

Average Weekly "Turnover measured by average weekly trading of 2% or more of the outstanding shares would              • The average weekly trading volume of 12.47%, as a percentage of shares outstanding, exceeds the
Trading Volume justify a strong presumption that the market for a security is an efficient one; 1% would justify a     standard of 2% that courts have suggested would justify a strong presumption of an efficient market (Note:
   Cammer I    substantial presumption."                                                                               4.56 million shares traded weekly on average during the Class Period).



                 “…it would be persuasive to allege a significant number of securities analysts followed and
Analyst Coverage reported on a company's stock during the class period. The existence of such analysts would      • During the Class Period at least 16 securities analysts issued 432 analyst reports which implies that
  Cammer II      imply, for example, the [auditor] reports were closely reviewed by investment professionals, who important information relevant to trading Lannett Common Stock was widely communicated to the market.
                 would in turn make buy/sell recommendations to client investors.”



                  “For over the counter markets without volume reporting, the number of market makers is
                                                                                                                     • Because Lannett's shares were exchange-traded on the NYSE during the Class Period, not over the
 Market Makers    probably the best single criterion. Ten market makers for a security would justify a substantial
                                                                                                                     counter, this factor is satisfied. According to Bloomberg, throughout the Class Period, there were at least
  Cammer III      presumption that the market for the security is an efficient one; five market makers would justify
                                                                                                                     130 market makers for Lannett Common Stock.
                  a more modest presumption.”


                  "It would be helpful to allege the Company was entitled to file an S-3 Registration Statement in
  SEC Form S-3    connection with public offerings or, if ineligible, such ineligibility was only because of timing
                                                                                                                       • Lannett filed a Form S-3ASR during the Class Period (on May 12, 2017). I have found no evidence to
    Eligibility   factors rather than because the minimum stock requirements set forth in the instructions to Form
                                                                                                                       believe that Lannett was not S-3 eligible throughout the Class Period, thus satisfying this factor.
   Cammer IV      S-3 were not met. Again, it is the number of shares traded and value of shares outstanding that
                  involve the facts which imply efficiency."


Price Reaction to “…one of the most convincing ways to demonstrate [market] efficiency would be to illustrate, • The event study demonstrates a clear cause and effect relationship. A statistical test shows a significant
New Information over time, a cause and effect relationship between company disclosures and resulting movements contemporaneous relationship between new firm-specific news and significant changes in the market price
   Cammer V       in stock price.”                                                                             for Lannett Common Stock.


                                                                                                                     • As of 3/31/2015 and 9/30/2017, Lannett's market capitalization was $2.45 billion and $0.69 billion,
    Market        Firms with a larger market capitalization tend to have “larger institutional ownership and tend to
                                                                                                                     respectively, which is at least the 46th percentile of all NYSE and NASDAQ stocks. Lannett Common Stock
 Capitalization   be listed on the New York Stock Exchange with a greater analyst following."
                                                                                                                     therefore easily meets this criterion.


                                                                                                                    • During the Class Period, the average percentage bid-ask spread for Lannett Common Stock in each
                  The bid-ask spread represents a measure of the cost to transact in a market. Narrow bid-ask
                                                                                                                    month ranged from 0.037% to 0.239%. Lannett's average percentage bid-ask spread was well below the
                  spreads indicate less uncertainty regarding valuation and that reasonably sized trades will not
 Bid-Ask Spread                                                                                                     mean and median bid-ask spread of a random sample of 100 other common stocks trading on the NASDAQ
                  substantially impact the market price. Wider bid-ask spreads indicate greater liquidity costs and
                                                                                                                    and NYSE in October 2017 (the full month when Lannett had the largest bid-ask spread). This supports a
                  less ability to trade without moving the market price.
                                                                                                                    finding of efficiency.


    Float and                                                                                                          • On average over 71.96% of Lannett shares were held by non-insiders. 633 institutions held the vast
                  Institutional investors are considered to be sophisticated, well-informed investors with access to
  Institutional                                                                                                        majority of the public float throughout the Class Period which further supports the finding that Lannett
                  most publicly available information for the stocks that they own.
   Ownership                                                                                                           Common Stock traded in an efficient market.


                 If autocorrelation is persistent and sufficiently large that a trader could profit from taking        • There was no evidence of statistically significant autocorrelation, which means that there was no
 Autocorrelation advantage of the autocorrelation, it suggests market inefficiency because past price movements        systematic opportunity for a trader to profit from trading Lannett Common Stock based solely on its past
                 are not fully reflected in the current price.                                                         price movements. This supports a finding of efficiency.

                  Empirical analysis has shown that option listings are associated with a decrease in bid-ask spread
                                                                                                                     • There were 267,255 Lannett Common Stock put contracts and 393,790 Lannett Common Stock call
    Options       and increase in quoted depth, trading volume, trading frequency, and transaction size – an overall
                                                                                                                     contracts that traded during the Class Period. Lannett Common Stock therefore meets this criterion.
                  improvement of the market quality of the underlying stocks.
                                                                                                                                                                               Volume (in millions)
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                                                                    Lannett Common Stock Price & Volume




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                                                                                                                                                                                                                                                                Closing Price
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                                                                             7/15/2014 - 12/29/2017




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                                                                                   Exhibit 2




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                                                                                                                                                                                     Closing Price
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                                                                                                                                   Exhibit 3
                                                                                                           Lannett Common Stock Average Weekly Trading Volume
                                                                                                                    as a Percentage of Shares Outstanding
40%
                                                                                                                             7/15/2014 - 10/31/2017

                 Average Weekly Volume as
35%              Percentage of Shares Outstanding:                                                                                                                                                                                                                                                                                                                "2% average weekly trading volume of
                 Average: 12.47%                                                                                                                                                                                                                                                                                                                                  the outstanding shares justify strong
                 Median: 11.31%                                                                                                                                                                                                                                                                                                                                   presumption that the market for the
30%
                                                                                                                                                                                                                                                                                                                                                                  security is an efficient one" (Cammer)
             "1% average weekly trading
25%          volume of the outstanding shares
             justify a substantial presumption"
             (Cammer)
20%


15%


10%


5%


0%
      07/15/14
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Source: S&P Capital IQ.                                            Volume as a Percentage of Shares Outstanding
Note:
(1) Average weekly trading volume is calculated by calculating the average daily turnover (i.e. daily trading volume divided by shares outstanding) and multiplying by 5.
(2) Median weekly trading volume is calculated by analyzing each five consecutive trading days (rather than calendar weeks) starting with the first day of the Class Period on July 15,
2014 through October 31,2017. The last week consists of three trading days (i.e., 10/27/2017, 10/30/2017, 10/31/2017), and therefore, the average of the daily trading volume on these
days is multiplied by five to get a comparable measure for the average weekly trading volume as a percentage of shares outstanding. The last week is excluded from the median
calculation.
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                                         Exhibit 4
                  Summary of Securities Analyst Reports Issued for Lannett
                                                                                                                           Reports Issued
                                                                                                                       During the Class Period:
              Analyst Name                                                                                              7/15/2014 -10/31/2017
     [1]      ROTH CAPITAL PARTNERS, LLC                                                                                              138
     [2]      MINKABU THE INFONOID, INC.                                                                                               46
     [3]      OPPENHEIMER AND CO                                                                                                       40
     [4]      SEEKING ALPHA                                                                                                            36
     [5]      WRIGHT INVESTORS SERVICE                                                                                                 24
     [6]      CANACCORD GENUITY                                                                                                        21
     [7]      CRAIG HALLUM CAPITAL                                                                                                     21
     [8]      SUSQUEHANNA FINANCIAL GROUP LLLP                                                                                         19
     [9]      SADIF ANALYTICS                                                                                                          18
    [10]      VALUENGINE, INC.                                                                                                         16
    [11]      BUYSELLSIGNALS RESEARCH                                                                                                  15
    [12]      VALIDEA                                                                                                                  13
    [13]      GLOBALDATA                                                                                                               12
    [14]      DEUTSCHE BANK                                                                                                             9
    [15]      BMO CAPITAL MARKETS                                                                                                       3
    [16]      MARKETLINE - COMPANY RESEARCH                                                                                             1
              Total                                                                                                                   432

Source: Investext and Seeking Alpha.
Note: Many analyst reports are not available through third party data providers (e.g. Investext); therefore, this almost certainly understates the total amount
of analyst coverage.
                                                                                     Case 2:16-cv-05932-WB Document 121-3 Filed 10/01/20 Page 43 of 72



                                                           Exhibit 5
                         Coefficients from Rolling Event Study Regression for Lannett Common Stock
                                                     7/15/2014 - 10/31/2017
3.500


3.000


2.500


2.000


1.500


1.000


0.500


0.000
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                                                                   Equal Weighted Peer Index Coefficient                                                                                                                                                        S&P 500 Total Return Index Coefficient


The results are based on a rolling regression of the previous 120 trading days. The regression models control for a broad market index (S&P 500 Total Return Index) and a Peer
Index. The Peer Index is an equal-weighted index using the returns of the companies that were members of the Dow Jones US Pharmaceutical Index during the Class Period. The
returns of the Peer Index are net of the S&P 500 Total Return Index. Earnings announcements, pre-announcements, the alleged corrective disclosure dates, and eight outlier dates
have been removed from estimation (i.e., 7/16/2014, the reception of interrogatories and subpoena from the Connecticut Attorney General; 8/19/2014, analyst downgrade from
Craig-Hallum on concerns over digoxin; 9/3/2015, the announced merger between Lannett and Kremers Urban Pharmaceuticals, Inc.; 12/9/2015, Lannett reassures investors
over lost customers; 7/11/2016, Lannett announces US FDA approval and launch of Proxetine Extended Release Tablets; 10/17/2016, US FDA withdrawal of its approval of a
generic ADHD drug; 4/10/2017, the beginning of talks of the acquisition of Akorn, a competing generic firm, by Fresenius; and 10/2/2017, the reception of two approvals from
the US FDA).
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                                                                                                        Exhibit 6
                                                                                 Standard Deviation of the Errors for Rolling Event Study
                                                                                         Regression for Lannett Common Stock
                                                                                                  7/15/2014 - 10/31/2017
0.030

0.027

0.024

0.021

0.018

0.015

0.012

0.009

0.006

0.003

0.000
        07/15/14
                   08/15/14
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                                                                                                                                                                                                                                                                                                                                                                                                                               10/15/17
                                                                                                                                                                                              Equal Weighted Peer

 The results are based on a rolling regression of the previous 120 trading days. The regression models control for a broad market index (S&P 500 Total Return Index) and a Peer
 Index. The Peer Index is an equal-weighted index using the returns of the companies that were members of the Dow Jones US Pharmaceutical Index during the Class Period. The
 returns of the Peer Index are net of the S&P 500 Total Return Index. Earnings announcements, pre-announcements, the alleged corrective disclosure dates, and eight outlier dates
 have been removed from estimation (i.e., 7/16/2014, the reception of interrogatories and subpoena from the Connecticut Attorney General; 8/19/2014, analyst downgrade from
 Craig-Hallum on concerns over digoxin; 9/3/2015, the announced merger between Lannett and Kremers Urban Pharmaceuticals, Inc.; 12/9/2015, Lannett reassures investors
 over lost customers; 7/11/2016, Lannett announces US FDA approval and launch of Proxetine Extended Release Tablets; 10/17/2016, US FDA withdrawal of its approval of a
 generic ADHD drug; 4/10/2017, the beginning of talks of the acquisition of Akorn, a competing generic firm, by Fresenius; and 10/2/2017, the reception of two approvals from
 the US FDA).
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                                                                       Exhibit 7
                                   Event Study Analysis of Lannett Earnings Announcements and Preannouncements
                                                                                                                                                            Rolling Regression Model
                                                                                                                                                                (120-day window)

                                                                                                                             Closing    Raw      Abnormal     Abnormal Dollar              Sig
#     Date        Time     Market Date       Event                                    Headline                                Price    Return     Return         Change          t-Stat   Level

                                            Q4 2014   Lannett Expects Fiscal 2014 Financial Results for Far Exceed Prior
1   8/18/2014    7:27 AM 8/18/2014           Pre-     Year                                                                   $40.40    6.60%      4.21%            $1.60          1.74      *
                                         Announcement Source - Business Wire

                                            Q4 2014      Lannett Achieves Stellar Financial Results for Fiscal 2014
2   8/27/2014    4:04 PM    8/28/2014                                                                                        $38.81    -1.30%     -0.30%           -$0.12         -0.12
                                            Earnings     Source - Business Wire

                                            Q1 2015   Lannett Announces Preliminary Fiscal 2015 First Quarter Net
3   10/23/2014   7:54 AM 10/23/2014          Pre-     Sales of Approximately $93 Million, EPS between $0.91 and $0.94        $49.30    10.24%     7.13%            $3.19          3.15     ***
                                         Announcement Source - Business Wire
                                                         Lannett Reports Net Sales of $93 Million, EPS of $0.94 for Fiscal
                                            Q1 2015
4   11/3/2014    4:05 PM    11/4/2014                    2015 First Quarter                                                  $56.25    -2.21%     -2.53%           -$1.46         -1.11
                                            Earnings
                                                         Source - Business Wire

                                            Q2 2015   Lannett Announces Preliminary Fiscal 2015 Second Quarter Net
5   1/26/2015    7:54 AM 1/26/2015           Pre-     Sales of Approximately $115 Million, EPS between $1.18 and $1.21       $48.93    7.11%      5.61%            $2.56          2.41     **
                                         Announcement Source - Business Wire

                                                         Lannett Reports Fiscal 2015 Second Quarter Net Sales of $115
                                            Q2 2015
6   2/4/2015     4:04 PM    2/5/2015                     Million, EPS of $1.21                                               $52.61    7.92%      0.13%            $0.07          0.06
                                            Earnings
                                                         Source - Business Wire

                                            Q3 2015      Lannett Reports Strong Fiscal 2015 Third-quarter Results
7   5/6/2015     4:16 PM    5/7/2015                                                                                         $53.04    -12.07%    -13.15%          -$7.93         -6.15    ***
                                            Earnings     Source - PR Newswire
                                          Case 2:16-cv-05932-WB Document 121-3 Filed 10/01/20 Page 46 of 72


                                                                        Exhibit 7
                                    Event Study Analysis of Lannett Earnings Announcements and Preannouncements
                                                                                                                                                      Rolling Regression Model
                                                                                                                                                          (120-day window)

                                                                                                                       Closing    Raw      Abnormal     Abnormal Dollar              Sig
#      Date        Time     Market Date       Event                                  Headline                           Price    Return     Return         Change          t-Stat   Level

                                             Q4 2015     Lannett Reports Strong Fiscal 2015 Financial Results
8    8/25/2015    4:04 PM    8/26/2015                                                                                 $50.09    7.37%      1.12%            $0.52          0.69
                                             Earnings    Source - PR Newswire

                                             Q1 2016   Lannett Announces Preliminary Fiscal 2016 First Quarter
9    10/28/2015   5:50 PM 10/29/2015          Pre-     Financial Results                                               $45.81    -1.40%     -1.49%           -$0.69         -0.74
                                          Announcement Source - PR Newswire

                                             Q1 2016     Lannett Reports Solid Fiscal 2016 First Quarter Results
10   11/4/2015    4:15 PM    11/5/2015                                                                                 $38.62    -16.33%    -14.91%          -$6.88         -7.24    ***
                                             Earnings    Source - PR Newswire

                                                       Lannett Announces Preliminary Fiscal 2016 Second Quarter
                                             Q2 2016
                                                       Financial Results, Provides Full-Year Guidance, To Host
11   1/26/2016    4:15 PM    1/27/2016        Pre-                                                                     $27.52    -21.12%    -17.77%          -$6.20         -6.92    ***
                                                       Conference Call Today
                                          Announcement
                                                       Source - PR Newswire

                                             Q2 2016     Lannett Reports Fiscal 2016 Second Quarter Results
12   2/3/2016     4:15 PM    2/4/2016                                                                                  $26.73    9.86%      9.13%            $2.22          3.39     ***
                                             Earnings    Source - PR Newswire

                                             Q3 2016
                                                       Lannett Revises Fiscal 2016 Full Year Guidance
13   3/23/2016    4:15 PM    3/24/2016        Pre-                                                                     $18.31    -10.07%    -9.76%           -$1.99         -3.62    ***
                                                       Source - PR Newswire
                                          Announcement

                                             Q3 2016     Lannett Reports Solid Fiscal 2016 Third Quarter Results
14   5/3/2016     4:15 PM    5/4/2016                                                                                  $19.77    7.91%      11.27%           $2.07          4.27     ***
                                             Earnings    Source - PRNewswire


                                                         Lannett Announces Record Net Sales For Fiscal 2016 Fourth-
                                             Q4 2016
15   8/23/2016    4:15 PM    8/24/2016                   Quarter And Full-Year                                         $36.75    13.71%     18.52%           $5.98          8.31     ***
                                             Earnings
                                                         Source - PR Newswire



                                             Q1 2017     Lannett Reports Fiscal 2017 First-Quarter Financial Results
16   11/3/2016    4:15 PM    11/4/2016                                                                                 $18.05    4.64%      1.67%            $0.29          0.77
                                             Earnings    Source - PR Newswire
                                                                  Case 2:16-cv-05932-WB Document 121-3 Filed 10/01/20 Page 47 of 72


                                                                                              Exhibit 7
                                                          Event Study Analysis of Lannett Earnings Announcements and Preannouncements
                                                                                                                                                                                                                                   Rolling Regression Model
                                                                                                                                                                                                                                       (120-day window)

                                                                                                                                                                                     Closing         Raw           Abnormal            Abnormal Dollar             Sig
 #             Date               Time       Market Date               Event                                                   Headline                                               Price         Return          Return                Change         t-Stat   Level


                                                                     Q2 2017            Lannett Reports Fiscal 2017 Second-Quarter Financial Results
 17         2/1/2017            4:15 PM        2/2/2017                                                                                                                                $21.70        4.83%            3.00%                     $0.62    1.21
                                                                     Earnings           Source - PR Newswire



                                                                     Q3 2017            Lannett Reports Fiscal 2017 Third-Quarter Financial Results
 18         5/2/2017            4:15 PM        5/3/2017                                                                                                                                $22.10       -18.60%          -15.39%                    -$4.18   -5.91      ***
                                                                     Earnings           Source - PR Newswire



                                                                    Q4 2017   Lannett Announces Preliminary Fiscal 2017 Fourth-Quarter and
 19         8/8/2017            6:54 AM        8/8/2017              Pre-     Full-Year Financial Results, Comments on Fiscal 2018 Outlook                                             $16.60        -2.92%           -0.69%                    -$0.12   -0.32
                                                                 Announcement Source - PR Newswire


                                                                                        Lannett Reports Fiscal 2017 Fourth-Quarter And Full-Year
                                                                     Q4 2017
 20        8/23/2017            4:24 PM        8/24/2017                                Financial Results, Provides Guidance For Fiscal 2018                                           $15.80        -1.86%           -2.84%                    -$0.46   -1.21
                                                                     Earnings
                                                                                        Source - PR Newswire

Sources: S&P Capital IQ and Factiva.
Notes:

(1) The results are based on a rolling regression of the previous 120 trading days. The regression model controls for a broad market index (S&P 500 Total Return Index) and a Peer Index. The Peer Index is an equal-weighted index using the returns of the companies the
companies that were members of the Dow Jones US Pharmaceutical Index during the Class Period. The returns of the Peer Index are net of the S&P 500 Total Return Index. Earnings announcements, pre-announcements, the alleged corrective disclosure dates, and
eight outlier dates have been removed from estimation (i.e., 7/16/2014, the reception of interrogatories and subpoena from the Connecticut Attorney General; 8/19/2014, analyst downgrade from Craig-Hallum on concerns over digoxin; 9/3/2015, the announced
merger between Lannett and Kremers Urban Pharmaceuticals, Inc.; 12/9/2015, Lannett reassures investors over lost customers; 7/11/2016, Lannett announces US FDA approval and launch of Proxetine Extended Release Tablets; 10/17/2016, US FDA withdrawal of
its approval of a generic ADHD drug; 4/10/2017, the beginning of talks of the acquisition of Akorn, a competing generic firm, by Fresenius; and 10/2/2017, the reception of two approvals from the US FDA).

(2) "***" Denotes statistical significance at the 99% confidence level or greater. "**" Denotes statistical significance at the 95% confidence level or greater. "*" Denotes statistical significance at the 90% confidence level or greater.
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                                                     Exhibit 8
          Comparison of Statistical Significance and Abnormal Returns
                    for Lannett Earnings Announcements
               vs. Days with No News during the Class Period



                                                   Earnings                       Days with No News,
               Statistic                        Announcements                 Analyst Reports, or SEC Filings


                  N (1)                                  20                                      216


     Significant Days at 95%
                                                         10                                       10
        Confidence Level

   % Significant Days at 95%
                                                      50.00%                                    4.63%
      Confidence Level (2)

        Average Absolute
                       (3)                             7.03%                                    1.76%
       Abnormal Return


                                     (4)
 Average Volume (Millions)                               2.7                                      0.8


Notes:
(1) Results are based on the Class Period. For the purposes of this analysis, I selected the 216 days with no news.
Days with no news were days that had zero news articles via the Factiva database, and no analyst reports or SEC
filings were issued.
(2) 50.00% rate of statistical significance is statistically significantly different than 4.63% at the 99% confidence level
using a Chi-Square test.
(3) 7.03% absolute return is statistically significantly different than 1.76% based on a t-test for difference of means at
the 99% confidence level.
(4) The difference between 2.7 million and 0.8 million is statistically significant at the 99% confidence level.
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                                                                    Lannett Common Stock Market Capitalization




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                                                                                                                                                                                                                                                09/15/16
                                                                                                                                                                                                                                                08/15/16




                                                                                                                                                                                                                                                           Sources: Complain, S&P Capital IQ, and Lannett Company SEC filings throughout the Class Period.
                                                                                                                                                                                                                                                07/15/16
                                                                                                                                                                                                                                                06/15/16
                                                                               7/15/2014 -12/29/2017




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                                                                                     Exhibit 9




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                                                                                                                    Class Period: 7/15/2014 - 10/31/2017




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                                                                                                                 $3.0


                                                                                                                                                           $2.8


                                                                                                                                                                  $2.5


                                                                                                                                                                         $2.3


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                                                                                                                                                                                        $1.8


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                                                                                                                                                                                                                    $0.8


                                                                                                                                                                                                                           $0.5


                                                                                                                                                                                                                                  $0.3


                                                                                                                                                                                                                                         $0.0
                                                                                                                                                                                Market Capitalization (in billions)
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                            Exhibit 10
                      Lannett Common Stock
                   Market Capitalization Rankings

                                      Market
         Last trading day of       Capitalization      Percentile Rank on
         quarter ending on:          (billions)        NYSE & NASDAQ
               9/30/2014                $1.63                   65%
              12/31/2014                $1.53                   63%
               3/31/2015                $2.45                   70%
               6/30/2015                $2.16                   68%
               9/30/2015                $1.51                   65%
              12/31/2015                $1.46                   64%
               3/31/2016                $0.66                   51%
               6/30/2016                $0.87                   55%
               9/30/2016                $0.98                   56%
              12/31/2016                $0.82                   51%
               3/31/2017                $0.82                   51%
               6/30/2017                $0.75                   49%
               9/30/2017                $0.69                   46%
       Source: Bloomberg, S&P Capital IQ, and Lannett Company SEC filings
       throughout the Class Period.
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                                                                                  Exhibit 11
                                                       Lannett Common Stock Average Monthly Bid-Ask Percentage Spread
                                                                            7/15/2014 - 10/31/2017
                              1.80%



                              1.60%



                              1.40%

                                                                                                                       Average Percentage Bid-Ask Spread for a
Percentage Spread per Share




                                                                                                                       Randomly Selected Group of 100 Common
                              1.20%                                                                                    Stocks Trading on the NYSE and NASDAQ
                                                                                                                       in October 2017: 1.59%

                              1.00%                                                                                    Median Percentage Bid-Ask Spread for a
                                                                                                                       Randomly Selected Group of 100 Common
                                                                                                                       Stocks Trading on the NYSE and NASDAQ
                                                                                                                       in October 2017: 0.69%
                              0.80%



                              0.60%



                              0.40%



                              0.20%



                              0.00%
                                   Jul 2014 Oct 2014 Jan 2015 Apr 2015 Jul 2015 Oct 2015 Jan 2016 Apr 2016 Jul 2016 Oct 2016 Jan 2017 Apr 2017 Jul 2017 Oct 2017

             Source: Thomson Reuters Eikon and TICK Data.
             Note: July 2014 data are limited to the Class Period.
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                                                                   Exhibit 12
                               Lannett Common Stock Shares Outstanding, Insider Holdings, and Institutional Holdings

                                                                                                                                                                        Institutional Institutional
                          Shares                 Total               Insider                                                      Insider Holdings Total Institutional Holdings % of Holdings %
                        Outstanding           Institutions          Holdings        Short Interest          Public Float            % of Shares        Holdings            Shares       of Public
       Date              (in 000s)           Owning Stock           (in 000s)         (in 000s)              (in 000s)              Outstanding         (in 000s)       Outstanding       Float
        [1]                   [2]                   [3]                 [4]                [5]           [6] = [2] + [5] - [4]       [7] = [4] / [2]            [8]            [9] = [8] / [2]   [10] = [8] / [6]

    9/30/2014               35,654                 208                 9,603             2,572                 28,624                   26.93%                19,220                54%               67%


   12/31/2014               35,700                 254                 9,509             5,169                 31,361                   26.64%                21,175                59%               68%


    3/31/2015               36,135                 294                 9,235             5,900                 32,800                   25.56%                23,538                65%               72%


    6/30/2015               36,265                 306                10,924             6,617                 31,957                   30.12%                24,747                68%               77%


    9/30/2015               36,362                 326                11,205             10,034                35,191                   30.81%                29,686                82%               84%


   12/31/2015               36,457                 285                11,195             10,105                35,367                   30.71%                28,487                78%               81%


    3/31/2016               36,569                 237                11,250             7,713                 33,032                   30.76%                31,405                86%               95%


    6/30/2016               36,604                 227                11,150             9,819                 35,273                   30.46%                32,180                88%               91%


    9/30/2016               36,802                 238                11,239             6,797                 32,360                   30.54%                33,041                90%              102%


   12/31/2016               37,002                 208                10,974             10,143                36,171                   29.66%                36,228                98%              100%


    3/31/2017               36,877                 209                10,989             14,296                40,184                   29.80%                40,622               110%              101%


    6/30/2017               36,919                 195                10,984             14,715                40,650                   29.75%                37,737               102%               93%


    9/30/2017               37,284                 194                 7,718             16,150                45,716                   20.70%                39,360               106%               86%


   12/31/2017               37,667                 229                 7,564             15,183                45,286                   20.08%                40,995               109%               91%



Total Institutions over Class Period:              633                                               Class Period Average:              28.04%                                    85.33%            86.28%

Sources: S&P Capital IQ and SEC filings.

(1) S&P Capital IQ updates short interest every two weeks while updates to institutional holdings via 13-F filings are only available every quarter; therefore, occasionally the time difference in data updates
may cause institutional holdings to appear to exceed shares outstanding and the public float.
(2) Companies controlled by the Farber family are counted as corporate insiders for the purposes of this analysis.
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                                       Exhibit 13
                                Lannett Common Stock
                    Test for Autocorrelation During the Class Period

                                      Coefficient on Previous
       Quarter Ending                Day's Abnormal Return(1)                      t-Statistic              Sig Level(3)
           9/30/2014                               -0.05                               -0.39
          12/31/2014                                0.02                               0.16
           3/31/2015                               -0.14                               -1.12
           6/30/2015                               -0.26                               -2.08                      **
           9/30/2015                                0.14                               1.01
          12/31/2015                               -0.01                               -0.12
           3/31/2016                                0.06                               0.43
           6/30/2016                               -0.03                               -0.23
           9/30/2016                                0.00                               0.04
          12/31/2016                               -0.02                               -0.15
           3/31/2017                               -0.14                               -1.07
           6/30/2017                                0.18                               1.42
           9/30/2017                                0.01                               0.10
          12/31/2017                               -0.19                               -0.64

        Class Period(2)                             0.01                               0.18
Source: S&P Capital IQ.
Notes:
(1) For each quarter I perform a regression with the abnormal return from the event study as the dependent variable
and the previous day's abnormal return as the independent variable. Earnings announcements, pre-announcements,
the alleged corrective disclosure dates, and eight outlier dates have been removed from estimation (i.e., 7/16/2014,
the reception of interrogatories and subpoena from the Connecticut Attorney General; 8/19/2014, analyst downgrade
from Craig-Hallum on concerns over digoxin; 9/3/2015, the announced merger between Lannett and Kremers Urban
Pharmaceuticals, Inc.; 12/9/2015, Lannett reassures investors over lost customers; 7/11/2016, Lannett announces US
FDA approval and launch of Proxetine Extended Release Tablets; 10/17/2016, US FDA withdrawal of its approval of
a generic ADHD drug; 4/10/2017, the beginning of talks of the acquisition of Akorn, a competing generic firm, by
Fresenius; and 10/2/2017, the reception of two approvals from the US FDA).
(2) Class Periods runs from July 15, 2014 to October 31, 2017.
(3) "***" Denotes statistical significance at the 99% confidence level or greater. "**" Denotes statistical significance at
the 95% confidence level or greater. "*" Denotes statistical significance at the 90% confidence level or greater.
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                                Appendix A
                            Documents Considered
Court Documents

   •   Third Amended Consolidated Securities Class Action Complaint filed September 21,
       2018, in John Utesch, Individually and on Behalf of All Others Similarly Situated,
       Plaintiff(s), v. Lannett Company, Inc., Arthur P. Bedrosian, and Martin P. Galvan,
       Defendants, Civil Action No. 2:16-cv-05932-WB.

Court Decisions and Securities Law
   •   Basic, Inc. v. Levinson, 485 U.S. 224 (1988).
   •   Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud, § 8.6. (Aug. 1988).
   •   Cammer, et al., v. Bruce M. Bloom, et al., 711 F. Supp. 1264 (D.N.J. 1989).
   •   Halliburton Co., et al., v. Erica P. John Fund, Inc., 134 S. Ct. 2398 (2014).
   •   Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001).
   •   Private Securities Litigation Reform Act of 1995, dated December 22, 1995.

SEC Filings
   •   Lannett Company, Inc. SEC Form 10-K filings submitted throughout the Class Period.
   •   Lannett Company, Inc. SEC Form 10-Q filings submitted throughout the Class Period.
   •   Lannett Company, Inc. SEC Form 8-K filings submitted during the Class Period.
   •   Lannett Company, Inc. SEC Form S-3ASR filed on May 12, 2017, see
       https://www.sec.gov/Archives/edgar/data/57725/000104746917003383/0001047469-17-
       003383-index.htm.
   •   Lannett Company, Inc. Def 14-A Proxy Statements for the fiscal years in the Class
       Period.

Security Data
   •   Historical data for Lannett Company, Inc. Common Stock, companies comprising the
       Peer Index, and the S&P 500 Total Return Index were obtained from S&P Capital IQ.
   •   Trade and quote data for Lannett Company, Inc. Common Stock during the Class Period
       and one hundred randomly selected companies trading on the New York Stock Exchange
       and NASDAQ for October 2017 were obtained from Tick Data, see
       https://tickapi.tickdata.com/. Companies trading on the New York Stock Exchange and
       NASDAQ for October 2017 were identified using Thomson Reuters Eikon.
   •   Institutional and insider holdings data was obtained from S&P Capital IQ.
   •   Lannett Company, Inc. Common Stock options data was obtained from iVolatility.
   •   Lannett Company, Inc. Common Stock market makers data was obtained from
       Bloomberg, using the RANK function.
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   •   Lannett Company, Inc. Common Stock market capitalization percentiles were obtained
       from Bloomberg.
   •   Turnover velocity data for NYSE and NASDAQ were obtained from the World
       Federation of Exchanges, see https://www.world-
       exchanges.org/home/index.php/statistics/monthly-reports.

Lannett Company, Inc. News
   •  Lannett Company, Inc. news headlines and select articles downloaded from Factiva for
      the Class Period. The Factiva search for news over the Class Period resulted in 1,401
      unique articles as a result of a search for “All Sources” with the company field “Lannett
      Company, Inc” or the keyword field “Lannett Company.” Articles flagged under the
      keyword fields “52-week highs and lows”, “Diary-Non,” and “Diary” were excluded
      from the analysis. Duplicate articles have been removed by a proprietary function
      accessible in Factiva’s search builder.
   • Lannett Company, Inc. earnings conference call and investor call transcripts during the
      Class Period, including but not limited to:
          o “FY 2014 Earnings Call Transcripts,” S&P Capital IQ, August 27, 2014.
          o “FQ2 2016 Earnings Call Transcripts,” S&P Capital IQ, February 3, 2016.
   • Lannett Company, Inc. earnings and guidance update press releases during the Class
      Period.
Lannett Company, Inc. Analyst Reports
   •   Lannett Company, Inc. analyst reports supplied by Investext via Thomson Reuters for the
       period of July 15, 2014 – October 31, 2017, including but not limited to:
           o “F3Q15 Results: Oops, Couldn’t Do It Again,” Oppenheimer, May 7, 2015.
           o “Eyes Shifting To Low-Single Digit Growth In FY16, But Prospects For FDA
              Approvals And/Or Acquisitions Keep Us Intrigued. Reiterate Buy Rating,
              Lowering Price Target To $62.,” Craig-Hallum Capital Group LLC, May 7, 2015.
   •   Seeking Alpha articles or reports for Lannett Company, Inc. published during the Class
       Period under the site’s “Analysis” section.

Academic Articles
   •   Aharony, J., and Swary, I., “Quarterly Dividend and Earnings Announcements and
       Stockholders’ Returns: An Empirical Analysis,” The Journal of Finance, Vol. 35, No. 1,
       March 1980.
   •   Amihud, Y., et al., Liquidity and Asset Prices, 1 FOUND. & TRENDS FIN. 269 (2005).
   •   Avramov, D., et al., Liquidity and Autocorrelations in Individual Stock Returns, 61 J. FIN.
       (2006).
   •   Barber, B., et al., The Fraud-on-the-Market Theory and the Indicators of Common
       Stocks’ Efficiency, 19 J. CORP. L. 285 (1994).
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  •     Beaver, W., “The Information Content of Annual Earnings Announcements,” Empirical
        Research in Accounting: Selected Studies, 1968, supplement to the Journal of Accounting
        Research, Vol. 6, 1968.
  •     Binder, J., The Event Study Methodology Since 1969, 11 REV. QUANTITATIVE FIN. &
        ACCT. (1998).
  •     Braun, P., et al., Good News, Bad News Volatility, and Betas, 50 J. FIN. 1575 (1995).
  •     Fabozzi, F., Modigliani, F., Jones, F., Foundations of Financial Markets and Institutions,
        Prentice Hall, Fourth Edition, 2010.
  •     Fama, E., Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. FIN.
        383 (1970).
  •     Greene, W., Econometric Analysis, Prentice Hall, Sixth Edition, 2008.
  •     Gujarati, D., Basic Econometrics, Third Edition, McGraw Hill, 1995.
  •     Huang, R., and Stoll, H., Dealer versus auction markets: A paired comparison of
        execution costs on NASDAQ and the NYSE, 41 J. FIN. ECON. 313 (1996).
  •     Jensen, M., Some Anomalous Evidence Regarding Market Efficiency, 6 J. FIN. ECON. 95
        (1978).
  •     Kumar, R., et al., The Impact of Options Trading on the Market Quality of the Underlying
        Security: An Empirical Analysis, 53 J. FIN. 717 (1998).
  •     MacKinlay, A., Event Studies in Economics and Finance, 35 J. ECON. LITERATURE
        (1997).
  •     May, R., “The Influence of Quarterly Earnings Announcements on Investor Decisions as
        Reflected in Common Stock Price Changes,” Empirical Research in Accounting:
        Selected Studies, 1971, supplement to the Journal of Accounting Research, Vol. 9, 1971.
  •     The National Academies Press, Reference Manual on Scientific Evidence, Third Edition,
        2011.
  •     Ross, S., Options and Efficiency, 90 Q. J. ECON. 75 (1976).
  •     Sharpe, W., Alexander, G., and Bailey, J., Investments, Prentice Hall, Fifth Edition, 1995.
  •     Tabak, D., and Dunbar, F., “Materiality and Magnitude: Event Studies in the
        Courtroom,” Ch. 19, Litigation Services Handbook, The Role of the Financial Expert,
        Third Edition, 2001.
  •     Thomas, R., and Cotter, J., Measuring Securities Market Efficiency in the Regulatory
        Setting, 63 LAW & CONTEMP. PROBS. 105 (2000).

Other
  •     http://www.nasdaq.com/about/MarketMechanics.stm.
  •     http://www.nasdaq.com/includes/Anatomy_of_a_Trade_FactSheet.pdf.
  •     http://www.nasdaqomx.com/transactions/trading/equities.
  •     https://www.nasdaqtrader.com/Trader.aspx?id=TradingUSEquities.
  •     https://www.nyse.com/market-model.
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•   http://www.rss-specifications.com.
•   http://www.rss-specifications.com/what-is-rss.htm.
•   http://www.sec.gov/answers/mktmaker.htm.
•   http://www.sec.gov/about/forms/forms-3.pdf.
•   http://wallstreet.cch.com/LCM/Sections.
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                                         APPENDIX B
                                CHAD W. COFFMAN, MPP, CFA

Global Economics Group, LLC
140 South Dearborn Street, Suite 1000
Chicago, IL 60603
Office:       (312) 470-6500
Mobile:       (815) 382-0092
Email:        ccoffman@globaleconomicsgroup.com


EMPLOYMENT:

      Global Economics Group, LLC
            President (2008 - Current)

             Global Economics Group specializes in the application of economics, finance, statistics,
             and valuation principles to questions that arise in a variety of contexts, including
             litigation and policy matters throughout the world. With offices in Chicago, Boston, and
             New York, Principals of Global Economics Group have extensive experience in high-
             profile securities, antitrust, labor, and intellectual property matters.

      Market Platform Dynamics, LLC
           Chief Financial Officer & Chief Operating Officer (2010 – Current)

             Market Platform Dynamics is a management consulting firm that specializes in assisting
             platform-based companies profit from industry disruption caused by the introduction of
             new technologies, new business models and/or new competitive threats. MPD’s experts
             include economists, econometricians, product development specialists, strategic
             marketers and recognized thought leaders who apply cutting-edge research to the
             practical problems of building and running a profitable business.

      Chicago Partners, LLC
            Principal (2007 – 2008)
            Vice President (2003 – 2007)
            Director (2000 – 2003)
            Senior Associate (1999 – 2000)
            Associate (1997 – 1999)
            Research Analyst (1995 – 1997)


EDUCATION:

      CFA     Chartered Financial Analyst, 2003

      M.P.P. University of Chicago, 1997
             Masters of Public Policy, with a focus in economics including coursework in Finance,
             Labor Economics, Econometrics, and Regulation
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       B.A.      Knox College, 1995
                 Economics, Magna Cum Laude
                 Graduated with College Honors for Paper entitled “Increasing Efficiency in Water
                 Supply Pricing: Using Galesburg, Illinois as a Case Study”
                 Dean's List Every Term
                 Phi Beta Kappa


PROFESSIONAL EXPERIENCE:

Securities, Valuation, and Market Manipulation Cases:

•   Testifying Expert in numerous high-profile class action securities matters including, but not limited
    to:

       o In Re: Bank of America Corp. Securities, Derivative, and Employee Retirement Income
            Security Act (ERISA) Litigation. Parties settled for $2.4 billion in which I served as
            Plaintiffs’ damages and loss causation expert.
       o    In Re: Schering-Plough Corporation/ Enhance Securities Litigation. Parties settled for $473
            million in which I served as Plaintiffs’ damages and loss causation expert.
       o    In Re: REFCO Inc. Securities Litigation. Parties settled for $367 million in which I served
            as Plaintiffs’ damages and loss causation expert.
       o    In Re: Computer Sciences Corporation Securities Litigation. Parties settled for $98 million
            in which I served as Plaintiffs’ damages and loss causation expert.
       o    Full list of testimonial experience is provided below

•   Engaged several dozen times as a neutral expert by prominent mediators to evaluate economic
    analyses of other experts.

•   Expert consultant for the American Stock Exchange (AMEX) where I evaluated issues related to
    multiple listing of options. Performed econometric analysis of various measures of option spread
    using tens of millions of trades.

•   Performed detailed audit of CDO valuation models employed by a banking institution to satisfy
    regulators – non-litigation matter.

•   Played significant role in highly-publicized internal accounting investigations of two Fortune 500
    companies. One led to restatement of previously issued financial statements and both involved
    SEC investigations.

Testimony:

•   Testifying expert in the matter of Kuo, Steven Wu v. Xceedium Inc, Supreme Court of New York,
    County of New York, Index No. 06-100836. Filed report re: the fair value of Mr. Kuo’s shares.
    Case settled at trial.
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•   Testifying expert in the matter of Pallas, Dennis H. v. BPRS/Chestnut Venture Limited Partnership
    and Gerald Nudo, Circuit Court of Cook County, Illinois, County Department, Chancery Division.
    Filed report re: fair value of Pallas shares. Report: July 9, 2008. Deposition August 6, 2008. Court
    Testimony February 11, 2009.

•   Testifying expert in Washington Mutual Securities Litigation, United States District Court for the
    Western District of Washington at Seattle, No. 2:08-md-1919 MJP, Lead Case No. C08-387 MJP.
    Filed declaration August 5, 2008 re: Plaintiffs’ loss causation theory. Filed expert report April 30,
    2010. Filed expert rebuttal report August 4, 2010. Filed declaration re: Plan of Allocation
    September 25, 2011.

•   Testifying expert in DVI Securities Litigation, Case No. 2:03-CV-05336-LDD, United States
    District Court for the Eastern District of Pennsylvania. Filed expert report October 1, 2008 re:
    damages. Filed expert rebuttal report December 17, 2008. Deposition January 27, 2009. Filed
    expert rebuttal report June 24, 2013.

•   Testifying expert in Syratech Corporation v. Lifetime Brands, Inc. and Syratech Acquisition
    Corporation, Supreme Court of the State of New York, Index No. 603568/2007. Filed expert report
    October 31, 2008.

•   Expert declaration in Jacksonville Police and Fire Pension Fund, et al. v. AIG, Inc., et al., No. 08 -
    CV-4772-LTS; James Connolly, et al. v. AIG, Inc., et al., No. 08-CV-5072-LTS; Maine Public
    Employees Retirement System, et al. v. AIG, Inc., et al., No. 08-CV-5464-LTS; and Ontario
    Teachers’ Pension Plan Board, et al. v. AIG, Inc., et al., No. 08-CV-5560-LTS, United States
    District Court for the Southern District of New York. Filed declaration February 18, 2009.

•   Expert declaration in Connetics Securities Litigation, Case No. C 07-02940 SI, United States
    District Court for the Northern District of California, San Francisco Division. Filed expert report
    March 16, 2009. Filed declaration re: Plan of Allocation September 9, 2009.

•   Testifying expert in Boston Scientific Securities Litigation, Master File No. 1:05-cv-11934 (DPW),
    United States District Court District of Massachusetts. Filed expert report August 6, 2009.
    Deposition October 6, 2009.

•   Expert declaration in Louisiana Sheriffs’ Pension and Relief Fund, et al. v. Merrill Lynch & Co,
    Inc., et al., Case Number 08-cv-09063, United States District Court for the Southern District of
    New York. Filed declaration re: Plan of Allocation October, 2009.

•   Testifying expert in Henry J. Wojtunik v. Joseph P. Kealy, John F. Kealy, Jerry A. Kleven, Richard
    J. Seminoff, John P. Stephen, C. James Jensen, John P. Morbeck, Terry W. Beiriger, and Anthony
    T. Baumann. Filed expert report January 25, 2010.

•   Testifying expert in REFCO Inc. Securities Litigation, Case No. 05 Civ. 8626 (GEL), United States
    District Court for the Southern District of New York. Filed expert report February 2, 2010. Filed
    expert rebuttal report March 12, 2010. Deposition March 26, 2010.
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•   Expert declaration in New Century Securities Litigation, Case No. 07-cv-00931-DDP, United
    States District Court Central District of California. Filed declaration March 11, 2010.

•   Testifying expert in Louisiana Municipal Police Employees’ Retirement System, et al. v. Tilman J.
    Fertitta, Steven L. Scheinthal, Kenneth Brimmer, Michael S. Chadwick, Michael Richmond, Joe
    Max Taylor, Fertitta Holdings, Inc., Fertitta Acquisition Co., Richard Liem, Fertitta Group, Inc.
    and Fertitta Merger Co, C.A. No. 4339-VCL, Court of Chancery of the State of Delaware. Filed
    expert report April 23, 2010.

•   Testifying expert in Edward E. Graham and William C. Nordlund, individually and d/b/a Silver
    King Capital Management v. Eton Park Capital Management, L.P., Eton Park Associates, L.P. and
    Eton Park Fund, L.P. Case No. 1:07-CV-8375-GBD, Circuit Court of Shelby County, Alabama.
    Filed expert rebuttal report July 8, 2010. Deposition September 1, 2010. Filed supplemental expert
    rebuttal report August 22, 2011.

•   Testifying expert in Moody’s Corporation Securities Litigation. Case No. 1:07-CV-8375-GBD),
    United States District Court for the Southern District of New York. Filed expert rebuttal report
    August 23, 2010. Deposition October 7, 2010. Filed rebuttal reply report November 5, 2010. Filed
    expert report May 25, 2012.

•   Testifying expert in Minneapolis Firefighters’ Relief Association v. Medtronic, Inc., et al. Civil
    No. 08-6324 (PAM/AJB), United States District Court, District of Minnesota. Filed expert report
    January 14, 2011.

•   Testifying expert in Schering-Plough Corporation/ENHANCE Securities Litigation Case No.2:08-
    cv-00397 (DMC) (JAD), United States District Court, District of New Jersey. Filed declaration
    February 7, 2011. Filed expert report September 15, 2011. Filed expert rebuttal report October 28,
    2011. Filed declaration January 30, 2012. Deposition November 15, 2011 and November 29, 2011.

•   Testifying expert in Fannie Mae 2008 Securities Litigation, Master File No. 08 Civ. 7831 (PAC),
    United States District Court for the Southern District of New York. Filed expert report July 18,
    2011.

•   Expert declaration in Grady Scott Weston et. al v. RCS Capital Corporation, et. al, Civil Action
    No. 1:14-CV-10136-GBD, United States District Court for the Southern District of New York.
    Filed declaration re: aggregate damages August 11, 2017.

•   Testifying expert in Bank of America Corp. Securities, Derivative, and Employee Retirement
    Income Security Act (ERISA) Litigation, Master File No. 09 MDL 2058 (PKC), United States
    District Court for the Southern District of New York. Filed expert report August 29, 2011. Filed
    expert rebuttal report September 26, 2011. Filed expert report March 16, 2012. Filed expert rebuttal
    report April 9, 2012. Filed expert rebuttal report April 29, 2012. Deposition October 14, 2011 and
    May 24, 2012.
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•   Testifying expert in Toyota Motor Corporation Securities Litigation, Case No. 10-922 DSF
    (AJWx), United States District Court, Central District of California. Filed expert report February
    17, 2012. Deposition March 28, 2012. Filed expert rebuttal report August 2, 2012. Filed declaration
    re: Plan of Allocation January 28, 2013.

•   Testifying expert in The West Virginia Investment Management Board and the West Virginia
    Consolidated Public Retirement Board v. The Variable Annuity Life Insurance Company, Civil
    No. 09-C-2104, Circuit Court of Kanawha County, West Virginia. Filed expert report June 1, 2012.
    Depositions June 19, 2013 and December 11, 2015.

•   Testifying expert in Aracruz Celulose S.A. Securities Litigation, Case No. 08-23317-CIV-
    LENARD, United States District Court for the Southern District of Florida. Filed expert report July
    20, 2012. Deposition September 14, 2012. Filed expert rebuttal report October 29, 2012. Filed
    declaration re: Plan of Allocation May 20, 2013.

•   Testifying expert in In Re Computer Sciences Corporation Securities Litigation, CIV. A. No. 1:11-
    cv-610-TSE-IDD, United States District Court for the Eastern District of Virginia, Alexandria
    Division. Filed expert report November 9, 2012. Filed supplemental report February 18, 2013.
    Filed expert rebuttal report March 25, 2013. Deposition March 27, 2013. Filed declaration re: Plan
    of Allocation August 7, 2013.

•   Testifying expert in In Re Weatherford International Securities Litigation, Case 1:11-cv-01646-
    LAK, United States District Court for the Southern District of New York. Filed declaration July 1,
    2011. Filed expert report April 1, 2013. Deposition April 26, 2013.

•   Testifying expert in In Re: Regions Morgan Keegan Closed-End Fund Litigation, Case 2:07-cv-
    02830-SHM-dkv, United States District Court for the Western District of Tennessee, Western
    Division. Court testimony April 12, 2013.

•   Testifying expert in City of Roseville Employees’ Retirement System and Southeastern
    Pennsylvania Transportation Authority, derivatively on behalf of Oracle Corporation, Plaintiff, v.
    Lawrence J. Ellison, Jeffrey S. Berg, H. Raymond Bingham, Michael J. Boskin, Safra A. Catz,
    Bruce R. Chizen, George H. Conrades, Hector Garcia-Molina, Donald L. Lucas, and Naomi O.
    Seligman, Defendants, and Oracle Corporation, Nominal Defendant, C.A. No. 6900-CS, Court of
    Chancery of the State of Delaware. Filed expert report May 13, 2013. Filed expert rebuttal report
    June 21, 2013. Deposition July 17, 2013.

•   Testifying expert in In Re BP plc Securities Litigation, No. 4:10-md-02185, Honorable Keith P.
    Ellison, United States District Court for the Southern District of Texas, Houston Division. Filed
    expert report June 14, 2013. Deposition July 25, 2013. Filed expert rebuttal report October 7, 2013.
    Filed declaration re: Plaintiff accounting losses November 17, 2013. Filed expert report January 6,
    2014. Deposition January 22, 2014. Filed expert rebuttal report March 12, 2014. Filed expert report
    March 17, 2014. Hearing testimony April 21, 2014. Deposition June 3, 2014. Filed declaration re:
    damages June 3, 2014.
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•   Testifying expert in In Re Celestica Inc. Securities Litigation, Civil Action No. 07-CV-00312-
    GBD, United States District Court for the Southern District of New York. Filed expert report June
    14, 2013. Filed expert rebuttal report September 10, 2013. Deposition September 24, 2013.

•   Testifying expert in In Re Dendreon Corporation Class Action Litigation, Master Docket No. C11-
    01291JLR, United States District Court for the Western District of Washington at Seattle . Filed
    declaration re: Plan of Allocation June 14, 2013.

•   Testifying expert in In Re Hill v. State Street Corporation, Master Docket No. 09-cv12146-GAO,
    United States District Court for the District of Massachusetts. Filed expert report October 28, 2013.

•   Testifying expert in In Re BNP Paribas Mortgage Corporation and BNP Paribas v. Bank of
    America, N.A., Master Docket No. 09-cv-9783-RWS, United States District Court for the Southern
    District of New York. Filed expert report November 25, 2013. Filed expert rebuttal report March
    17, 2014. Deposition June 26-27, 2014.

•   Testifying expert in Stan Better and YRC Investors Group v. YRC Worldwide Inc., William D.
    Zollars, Michael Smid, Timothy A. Wicks and Stephen L. Bruffet, Civil Action No. 11 -2072-KHV,
    United States District Court for the District of Kansas. Filed declaration re: Plan of Allocation
    February 5, 2014. Filed expert report May 29, 2015. Filed expert report February 5, 2016. Filed
    expert rebuttal report March 27, 2016.

•   Testifying expert in The Archdiocese of Milwaukee Supporting Fund v. Halliburton Company, et
    al., Civil Action No. 3:02-CV-1152-M, United States District Court for the Northern District of
    Texas, Dallas Division. Filed expert rebuttal report October 30, 2014. Deposition November 11,
    2014. Hearing testimony December 1, 2014. Filed expert report March 11, 2016. Filed expert
    rebuttal report May 13, 2016. Deposition June 10, 2016. Hearing testimony re: Plan of Allocation
    July 31, 2017.

•   Testifying expert in In Re HP Securities Litigation, Master File No. 3:12-cv-05980-CRB, United
    States District Court for the Northern District of California, San Francisco Division. Filed expert
    report November 4, 2014. Deposition December 3, 2014. Filed expert rebuttal report January 26,
    2015.

•   Testifying expert in In Re MGM Mirage Securities, No. 2:09-cv-01558-GMN-VCF, United States
    District Court for the District of Nevada. Filed expert report November 12, 2014. Deposition
    January 6, 2015. Filed expert rebuttal report April 2, 2015.

•   Testifying expert in Adam S. Levy v. Thomas Gutierrez, Richard J. Gaynor, Raja Bal, J. Michal
    Conaway, Kathleen A. Cote, Ernest L. Godshalk, Matthew E. Massengill, Mary Petrovich, Robert
    E. Switz, Noel G. Watson, Thomas Wroe, Jr., Morgan Stanley & Co. LLC, Goldman, Sachs & Co.,
    and Canaccord Genuity Inc. and Apple Inc., No. 1:14-cv-00443-JL, United States District Court for
    the District of New Hampshire. Filed declaration January 7, 2015. Filed expert report September
    20, 2018. Deposition December 7, 2018. Filed expert rebuttal report February 22, 2019. Filed
    expert report June 7, 2019. Deposition September 6, 2019.
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•   Testifying expert in In Re Nu Skin Enterprises, Inc., Securities Litigation, Master File No. 2:14-cv-
    00033-DB, United States District Court for the District of Utah, Central Division. Filed expert
    report June 26, 2015. Deposition August 17, 2015.

•   Testifying expert in In Re Intuitive Surgical Securities Litigation, Master File No. 5:13-cv-01920-
    EJD, United States District Court for the Northern District of Calif ornia. Filed expert report
    September 1, 2015. Filed expert rebuttal report November 16, 2015. Filed expert report November
    8, 2016. Filed expert report February 8, 2017. Deposition December 12, 2017.

•   Testifying expert in Babak Hatamian, et al., v. Advanced Micro Devices, Inc., et al., No. 4:14-cv-
    00226-YGR, United States District Court for the Northern District of California, San Francisco
    Division. Filed expert report September 4, 2015. Filed expert rebuttal report December 7, 2015.
    Filed expert report November 18, 2016. Filed expert rebuttal report January 17, 2017. Filed
    declaration March 6, 2017. Deposition March 7, 2017.

•   Testifying expert in In Re NII Holdings, Inc. Securities Litigation, No. 1:14-cv-00227-LMB-JFA,
    United States District Court for the Eastern District of Virginia, Alexandria Division. Filed expert
    report September 11, 2015. Deposition September 17, 2015. Filed expert rebuttal report October
    28, 2015. Filed expert report January 8, 2016.

•   Testifying expert in In Re Barrick Gold Securities Litigation, No. 1:13-cv-03851-SAS, United
    States District Court for the Southern District of New York. Filed expert report September 15,
    2015.

•   Expert declaration in In Re Tower Group International, Ltd. Securities Litigation, Master Docket
    No. 1:13-cv-5852-AT, United States District Court for the Southern District of New York. Filed
    declaration re: Plan of Allocation October 6, 2015.

•   Testifying expert in Beaver County Employees’ Retirement Fund et al. v. Tile Shop Holdings Inc.
    et al., No. 0:14-cv-00786-ADM-TNL, United States District Court for the District of Minnesota.
    Filed expert report December 1, 2015. Deposition March 15, 2016. Filed expert report July 1,
    2016. Deposition July 26, 2016. Filed expert reply report August 15, 2016.

•   Testifying expert in In Re Barclays Bank PLC Securities Litigation, Civil Action No. 1:09-cv-
    01989-PAC, United States District Court for the Southern District of New York. Filed expert report
    December 15, 2015. Filed expert rebuttal report February 2, 2016. Filed rebuttal reply expert report
    March 18, 2016. Deposition April 21, 2016.

•   Testifying expert in In Re Petrobras Securities Litigation, Civil Action No. 15-cv-03733-JSR, 15-
    cv-07615-JSR, 15-cv-6618-JSR, 15-cv-02192-JSR, United States District Court for the Southern
    District of New York. Filed expert report May 6, 2016. Filed expert report May 27, 2016. Filed
    expert reply report June 17, 2016. Deposition June 24, 2016.

•   Testifying expert in In Re Genworth Financial, Inc. Securities Litigation, Civ. A. No. 3:14 -cv-
    00682-JAG, United States District Court for the Eastern District of Virginia, Richmond Division .
    Filed declaration re: Plan of Allocation June 2, 2016.
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•   Testifying expert in Zubair Patel, Individually and on Behalf of All Others Similarly Situated,
    Plaintiff, vs. L-3 Communications Holdings, Inc., et al., Defendants, No. 1:14-cv-06038-VEC,
    United States District Court for the Southern District of New York. Filed expert report June 30,
    2016. Deposition July 20, 2016. Filed expert rebuttal report August 26, 2016.

•   Testifying expert in Leonard Howard, Individually and on Behalf of All Others Similarly Situated,
    Plaintiff, vs. Liquidity Services, Inc., et al., Defendants, No. 1:14-cv-01183-BAH, United States
    District Court for the District of Columbia. Filed expert report September 2, 2016.

•   Testifying expert in James Quinn, Derivatively on Behalf of Nominal Defendant Apple REIT Ten,
    Inc., Plaintiff, v. Glade M. Knight, Justin Knight, Kent W. Colton, R. Garnett Hall, Jr., David J.
    Adams, Anthony F. Keating III, David Buckley, Kristian Gathright, David McKenney, Bryan
    Peery, and Apple Hospitality REIT, Inc., Defendants, and Apple REIT Ten, Inc., Nominal
    Defendant, No. 3:16-cv-610, United States District Court for the Eastern District of Virginia,
    Richmond Division. Filed expert report October 14, 2016. Deposition October 20, 2016.

•   Testifying expert in Dr. Joseph F. Kasper, et al., Plaintiff, v. AAC Holdings, Inc., et al.,
    Defendants, No. 3:15-cv-00923, United States District Court for the Middle District of Tennessee,
    Nashville Division. Filed expert report October 18, 2016. Deposition November 29, 2016. Filed
    expert rebuttal report February 10, 2017. Filed expert report December 4, 2017.

•   Testifying expert in KBC Asset Management NV, et al., Plaintiff, v. 3D Systems Corporation,
    Abraham N. Reichental, Damon J. Gregoire, and Ted Hull, Defendants, No. 15-cv-02393-MGL,
    United States District Court for the District of South Carolina, Rock Hill Division. Filed expert
    report October 31, 2016. Deposition January 5, 2017. Filed expert report April 21, 2017.

•   Testifying expert in Arkansas Teacher Retirement System, et al., Plaintiff, v. Virtus Investment
    Partners, Inc., Defendants, No. 15-cv-1249-WHP, United States District Court for the Southern
    District of New York. Filed expert report November 7, 2016. Filed expert rebuttal report February
    17, 2017. Deposition February 28, 2017. Filed expert report June 16, 2017. Filed expert rebuttal
    report July 26 , 2017. Deposition August 9, 2017. Filed declaration re: prior reports December 4,
    2017.

•   Testifying expert in Laborers Pension Trust Fund – Detroit, Individually and on Behalf of All
    Others Similarly Situated, Plaintiffs, vs. Conn’s, Inc., et al., Defendants, No. 4:14-cv-00548 (KPE),
    United States District Court for the Southern District of Texas, Houston Division. Filed expert
    report November 10, 2016. Deposition December 9, 2016. Filed expert rebuttal report March 27,
    2017.

•   Testifying expert in Glen Hartsock, individually and on behalf of all others similarly situated
    Plaintiff, v. Spectrum Pharmaceuticals, Inc., and Rajesh C. Shrotriya, Defendants, No. 16 -cv-
    02279-RFB-GWF and Olutayo Ayeni, individually and on behalf of all others similarly situated
    Plaintiff, v. Spectrum Pharmaceuticals, Inc., Rajesh C. Shrotriya, Kurt A. Gustafson, Joseph
    Turgeon, and Lee Allen, Defendants, No. 16-cv-02649-KJD-VCF, United States District Court for
    the District of Nevada. Filed declaration re: damages December 8, 2016.
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•   Testifying expert in In Re: ARIAD Pharmaceuticals, Inc. Securities Litigation, No. 1:13-cv-12544
    (WGY), United States District Court District of Massachusetts. Filed expert report March 6, 2017.

•   Testifying expert in Washtenaw County Employees’ Retirement System, individually and on
    behalf of all others similarly situated, Plaintiff, v. Walgreen Co., Gregory D. Wasson, and Wade
    Miquelon, Defendants, No. 15-cv-3187, United States District Court for the Northern District of
    Illinois. Filed expert report April 21, 2017. Deposition June 15, 2017. Filed expert rebuttal report
    September 15, 2017.

•   Testifying expert in Lou Baker, individually and on behalf of all others similarly situated, Plaintiff,
    v. SeaWorld Entertainment, Inc., James Atchison, James M. Heaney, Marc Swanson, and The
    Blackstone Group L.P., Defendants, No. 3:14-cv-02129-MMA-KSC, United States District Court
    for the Southern District of California. Filed expert report May 19, 2017. Deposition July 20, 2017.
    Filed expert rebuttal report September 14, 2017. Filed expert report January 22, 2019. Filed expert
    rebuttal report March 1, 2019. Deposition March 26, 2019.

•   Testifying expert in Benjamin Gross, individually and on behalf of all others similarly situated,
    Plaintiff, v. GFI Group, Inc., Colin Heffron, and Michael Gooch, Defendants, No. 3:14-cv-09438-
    WHP, United States District Court for the Southern District of New York. Filed expert report May
    30, 2017. Filed expert report August 7, 2017. Filed expert rebuttal report August 28, 2017.
    Deposition September 27, 2017.

•   Testifying expert in Murray Rubinstein, Jeffrey F. St. Clair, William McWade, Harjot Dev and
    Vikas Shah, individually and on behalf of all others similarly situated, Plaintiffs, v. Richard
    Gonzalez and Abbvie Inc., Defendants, No. 14-cv-9465, United States District Court for the
    Northern District of Illinois, Eastern Division. Filed expert report December 21, 2017. Deposition
    February 22, 2018. Filed supplemental expert report March 9, 2018. Filed expert reply report June
    14, 2018. Filed expert sur-sur reply report August 28, 2018.

•   Testifying expert in In Re: SanDisk LLC Securities Litigation, No. 3:15-cv-01455-VC, United
    States District Court for the Northern District of California, San Francisco Division. Filed expert
    report January 19, 2018. Filed expert report August 30, 2018. Filed expert report October 23, 2018.
    Deposition November 15, 2018. Filed declaration re: Plan of Allocation and calculation of
    aggregate damages May 6, 2019.

•   Testifying expert in In Re: EZCORP, Inc. Securities Litigation, No. 1:15-cv-00608-SS, United
    States District Court for the Western District of Texas. Filed expert report January 31, 2018.
    Deposition March 6, 2018.

•   Testifying expert in Kevin Murphy, Individually and On Behalf of All Others Similarly Situated,
    Plaintiff, v. Precision Castparts Corp., Mark Donegan, and Shawn R. Hagel, Defendants, No. 3:16-
    cv-00521-SB, United States District Court for the District of Oregon, Portland Division. Filed
    expert report March 2, 2018. Filed expert report March 22, 2019. Filed expert reply report June 19,
    2019. Deposition July 19, 2019.
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•   Testifying expert in In Re: Rent-A-Center, Inc. Securities Litigation, No. 4:16-cv-00978-ALM-
    CMC, United States District Court for the Eastern District of Texas, Sherman Division. Filed
    expert report March 13, 2018. Filed rebuttal reply report July 12, 2018. Deposition August 21,
    2018.

•   Testifying expert in Public Employees’ Retirement Systems of Mississippi, Individually and On
    Behalf of All Others Similarly Situated, Plaintiff, v. TreeHouse Foods, Inc., Sam K. Reed, Dennis
    F. Riordan and Christopher D. Silva, Defendants, No. 1:16-cv-10632, United States District Court
    for the Northern District of Illinois. Filed expert report July 13, 2018. Deposition September 21,
    2018. Filed rebuttal reply report May 17, 2019.

•   Testifying expert in Gary Hefler, et al., Plaintiffs, v. Wells Fargo & Company, et al., Defendants,
    No. 1:16-cv-05479-JST, United States District Court for the Northern District of California. Filed
    declaration re: Plan of Allocation July 27, 2018.

•   Testifying expert in In re Banco Bradesco S.A. Securities Litigation, No. 1:16-cv-04155-GHW,
    United States District Court for the Southern District of New York. Filed expert report August 17,
    2018. Filed supplemental expert report October 11, 2018. Deposition October 12, 2018. Filed
    expert report December 14, 2018. Filed expert report March 8, 2019. Filed declaration re: Plan of
    Allocation July 19, 2019.

•   Testifying expert in Richard Di Donato, et al., Plaintiffs, v. Insys Therapeutics Incorporated, et al.
    Defendants, No. CV-16-00302-PHX-NVW, United States District Court for the District of
    Arizona. Filed expert report August 31, 2018. Deposition October 4, 2018. Filed expert report
    November 30, 2018. Filed expert report July 26, 2019. Filed expert report November 1, 2019.

•   Consulting expert in In Re: Wilmington Trust Securities Litigation, Master File No. 10-cv-00990-
    ER, United States District Court for the District of Delaware. Filed declaration re: Plan of
    Allocation and calculation of aggregate damages September 17, 2018.

•   Testifying expert in Atul Singh Deora, Individually and On Behalf of All Others Similarly Situated,
    Plaintiffs, v. Nanthealth, Inc., Patrick Soon-Shiong, Paul A. Holt, Michael S. Sitrick, Kirck K. Calhoun,
    Mark Bennett, Edward Miller, Michael Blaszyk, Jefferies Llc, First Analysis Securities Corpor ation,
    Canaccord Genuity Inc., And Fbr Capital Markets & CO., Defendants. , No. 2:17-CV-01825-BRO-
    MRW, United States District Court for the Central District of California Western Division. Filed
    expert report September 20, 2018.

•   Testifying expert in City of Sunrise General Employees’ Retirement Plan, Plaintiff vs. FleetCor
    Technologies, Inc., et al., Defendants, No. 1:17-CV-02207-LMM, United States District Court for
    the Northern District of Georgia Atlanta Division. Filed expert report January 4, 2019. Deposition
    March 20, 2019. Filed expert report May 6, 2019.

•   Testifying expert in Guevoura Fund LTD., On Behalf of Itself and All Others Similarly Situated,
    Plaintiffs, v. Robert F.X. Sillerman, D. Geoffrey Armstrong, John Miller, Michael John Meyer, and
    SFX Entertainment, Inc., Defendants, Case No. 1:15-cv-07192-CM, Case No. 1:18-cv-09784-CM,
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    United States District Court for the Southern District of New York. Filed expert report January 18,
    2019.

•   Testifying expert in Leon D. Milbeck On Behalf of Himself and All Others Similarly Situated, v.
    TrueCar, Inc, et al., Defendants, No. 2:18-cv-02612-SVW, United States District Court for the
    Central District of California. Filed expert report March 8, 2019. Deposition April 8, 2019.

•   Testifying expert in Lewis Cosby, Kenneth R. Martin, as Beneficiary of the Kenneth Ray Martin
    Roth IRA, and Martin Weakly On Behalf of Themselves and All Others Similarly Situated, vs.
    KPMG, LLP, Case No. 3:16-cv-00121, United States District Court for the Eastern District of
    Tennessee, Knoxville Division. Filed expert report March 15, 2019. Deposition April 12, 2019.
    Filed supplemental expert report April 19, 2019. Deposition April 25, 2019. Filed rebuttal reply
    report June 14, 2019.

•   Testifying expert in Shawn Sanawaz, Individually and On Behalf of All Other Similarly Situated,
    v. Intellipharmaceutics International Inc., Isa Odidi, and Domenic Della Penna, Defendants, No.
    1:17-cv-05761-JPO, United States District Court for the Southern District of New York. Filed
    expert report May 06, 2019.

•   Testifying expert in Kevin L. Dougherty, Individually and on Behalf of All Others Similarly
    Situated, v. Esperion Therapeutics, Inc., et al., Defendants, No. 2:16-cv-10089-AJT-RSW, United
    States District Court for the Eastern Michigan of Michigan. Filed expert report June 6, 2019.
    Deposition July 26, 2019. Filed rebuttal reply report October 7, 2019. Filed expert report May 15,
    2020. Deposition July 31, 2020.

•   Testifying expert in West Virginia Investment Management Board, Stichting Blue Sky Global
    Equity Active Low Volatility Fund, and Stitching Blue Sky Active Large Cap Equity USA Fund
    vs. SCANA Corporation., et al., Civ. A. No. 3:17-cv-2616-MBS, United States District Court for
    the District of South Carolina. Filed expert report June 28, 2019. Deposition August 16, 2019.

•   Testifying expert in Eric Weiner, Individually and on Behalf of All Others Similarly Situated, vs.
    Tivity Health, Inc., Donato Tramuto, Glenn Hargreaves and, Adam Holland, Defendants, Case No.:
    3:17-cv-01469 United States District Court for the Middle District of Tennessee. Filed expert
    report July 1, 2019. Deposition September 4, 2019. Filed rebuttal reply report December 20, 2019.
    Filed expert report July 30, 2020. Filed rebuttal reply report September 30, 2020.

•   Testifying expert in In Re Dr. Reddy’s Laboratories Limited Securities Litigation, No. 3:17-cv-
    06436-PGS-DEA, United States District Court for the District of New Jersey. Filed expert report
    July 19, 2019. Deposition September 10, 2019.

•   Testifying expert in Peace Officers’ Annuity and Benefit Fund of Georgia, Individually and On
    Behalf of All Others Similarly Situated, and Jacksonville Police and Fire Pension Fund,
    Individually and On Behalf of All Others Similarly Situated vs. DaVita, Inc. et al., No. 1:17-cv-
    00304-WJM-NRN, United States District Court for the District of Colorado. Filed expert report
    January 31, 2020. Deposition May 27, 2020.
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•   Testifying Expert in In Re Avon Securities Litigation, No. 19 Civ. 01420- CM, United States
    District Court for the Southern District of New York. Filed expert report February 13, 2020.

•   Testifying Expert in In Re Allergan Generic Drug Pricing Securities Litigation, Civil Action No.
    2:16-9449 (KSH) (CLW), United States District Court for the District of New Jersey . Filed expert
    report March 20, 2020. Deposition July 16, 2020.

•   Expert declaration in Martin Cohen, Individually and On Behalf of All Others Similarly Situated,
    v. Luckin Coffee Inc., Jenny Zhiya Qian, and Reinout Hendrik Schakel, Case no. 1:20-cv-01293-
    LJL, United States District Court for the Southern District of New York. Filed declaration May 13,
    2020.

•   Testifying Expert in In RE Navient Corporation Securities Litigation, No. 1:17-cv-08373-RBK-
    AMD, United States District Court of New Jersey. Filed expert report May 15, 2020. Deposition
    July 23, 2020.

•   Testifying Expert in Yellowdog Partners, LP, Individually and on Behalf of All Others Similarly
    Situated, vs. CURO Group Holdings Corp., et al., Civil Action No. 2:18-cv-02662-JWL-KGG,
    United States District Court for the District of Kansas, Kansas City. Filed expert report May 18,
    2020.

•   Testifying Expert in Julian Keippel, Individually and On Behalf of All Others Similarly Situated,
    vs. Health Insurance Innovations, Inc., Gavin Southwell, and Michael D. Hershberger, No. 8:19-
    CV-00421-WFJ-CPT, United States District Court Middle District of Florida Tampa Division.
    Filed expert report May 21, 2020. Deposition June 15, 2020.

•   Testifying Expert in In Re Perrigo Company plc Securities Litigation, No: 1:19-cv-00070-DLC,
    United States District Court for the Southern District of New York. Filed expert report July 10,
    2020. Deposition August 4, 2020.

•   Testifying Expert in Plymouth County Retirement System, Individually and On Behalf of All
    Others Similarly Situated, vs. GTT Communications, Inc., Richard D. Calder, Jr., Chris Mckee,
    Michael Sicoli, And Gina Nomellini, Case No. 1:19-cv-00982-CMH-MSN, United States District
    Court for the Eastern District of Virginia Alexandria Division. Filed expert report August 7, 2020.
    Filed expert report September 25, 2020.

•   Testifying Expert in Thomas W. Luczak, Individually and On Behalf of All Others Similarly
    Situated, vs. National Beverage Corp., Nick A. Caporella, and George R. Bracken, Case No. 0:18-
    cv-61631-KMM, United States District Court for the Southern District of Florida. Filed expert
    report September 25, 2020.

•   Expert declaration in In re: PG&E Corporation – and – Pacific Gas and Electric Company Debtors,
    Case No. 19-30088 (DM), United States Bankruptcy Court for the Northern District of California,
    San Francisco Division. Filed declaration on September 28, 2020.
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•   Testifying Expert in Oklahoma Police Pension Fund and Retirement System, Individually and on
    Behalf of All Others Similarly Situated, Plaintiff, v. Teligent, Inc. and Jason Grenfell-Gardner,
    Defendants, Case No. 1:19-cv-03354-VM, United States District Court for the Southern District of
    New York. Filed expert report on September 30, 2020.

Experience in Labor Economics and Discrimination-Related Cases:

•   Expert consultant for Cargill in class action race discrimination matter in which class certification
    was defeated.

•   Expert consultant for 3M in class action age discrimination matter.

•   Expert consultant for Wal-Mart in class action race discrimination matter.

•   Expert consultant on various other significant confidential labor economics matters in which there
    were class action allegations related to race, age and gender.

•   Expert consultant for large insurance company related to litigation and potential regulation
    resulting from the use of credit scores in the insurance underwriting process.

Testimony:

•   Testifying expert in Shirley Cohens v. William Henderson, Postmaster General, C.A 1:00CV-1834
    (TFH) United States Postal Service. United States District Court for the District of Columbia.–
    Filed report re: lost wages and benefits.

•   Testifying expert in Richard Akins v. NCR Corporation. Before the American Arbitration
    Association – Filed report re: lost wages.

•   Testifying expert in Maureen Moriarty v. Dyson, Inc., Case No. 09 CV 2777, United States District
    Court for the Northern District of Illinois, Eastern Division. Filed expert report October 12, 2011.
    Deposition November 10, 2011.

•   Testifying expert in Vincent Torbio, et al. against Feldor Billiards Inc. D/B/A Fatcat Billiards, et
    al., Index No. 153384/14, Supreme Court of the State of New Your, County of New York. Filed
    expert report May 29, 2018. Deposition July 24, 2018.

Selected Experience in Antitrust, General Damages, and Other Matters:

•   Expert consultant in high-profile antitrust matters in the computer and credit card industries.

•   Expert consultant for plaintiffs in re: Brand Name Drugs Litigation. Responsible for managing,
    maintaining and analyzing data totaling over one billion records in one of the largest antitrust cases
    ever filed in the Federal Courts.
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•   Served as neutral expert for mediator (Judge Daniel Weinstein) in allocating a settlement in an
    antitrust matter.

•   Expert consultant in Seminole County and Martin County absentee ballot litigation during disputed
    presidential election of 2000.

•   Expert consultant for sub-prime lending institution to determine effect of alternative loan
    amortization and late fee policies on over 20,000 customers of a sub -prime lending institution.
    Case settled favorably at trial immediately after the testifying expert presented an analysis I
    developed showing fundamental flaws in opposing experts calculations.


TEACHING EXPERIENCE:

       KNOX COLLEGE, Teaching Assistant - Statistics, (1995)
       KNOX COLLEGE, Tutor in Mathematics, (1992 - 1993)


PUBLICATIONS:

       Coffman, Chad and Mary Gregson, “Railroad Construction and Land Value.” Journal of Real
          Estate and Finance, 16:2, pp. 191-204 (1998).

       Coffman, Chad, Tara O’Neil, and Brian Starr, Ed. Richard D. Kahlenberg, “An Empirical
          Analysis of the Impact of Legacy Preferences on Alumni Giving at Top Universities,”
          Affirmative Action for the Rich: Legacy Preferences in College Admissions; pp. 101-121
          (2010).


PROFESSIONAL AFFILIATIONS:

       Associate Member CFA Society of Chicago
       Associate Member CFA Institute
       Phi Beta Kappa


AWARDS:

       1994 Ford Fellowship Recipient for Summer Research.
       1993 Arnold Prize for Best Research Proposal.
       1995 Knox College Economics Department Award.


PERSONAL ACTIVITIES:

•   Pro bono consulting for Cook County State’s Attorney’s Office.
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•   Pro bono consulting for Cook County Health & Hospitals System – Developed method for hospital
    to assess real-time patient level costs to assist in improving care for Cook County residents and
    prepare for implementation of Affordable Care Act.
•   Pro bono consulting for Chicago Park District to analyze economic impact of park district assets
    and assist in developing strategic framework for decision-making.
